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Final Judgment and Civil Orders
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For Example:

When you applied for a “marriage license” a private, for-profit franchise of the
UNITED NATIONS doing business as the STATE OF claimed a
custodial ownership interest in your marital relationship and the products resulting
from it. On the basis of your own signature, this entity secretively claimed to own
you, your wife, and your children as chattel. According to them, when you apply
for a marriage license, the nature of the marriage contract changes and becomes a
“civil contract”.

"Marriage is a civil contract to which there are three parties - the husband, the
wife and the state." Van Koten v. Van Koten. 154 NE. 146.

Did you ever intend to give a foreign privately owned corporation merely calling
itself the STATE OF permission to distribute your assets in a
divorce, force you to pay alimony and child support, and to seize custody of your
minor children under armed force?

Were these results of signing a “marriage license” ever disclosed to you by the
STATE? Did the STATE disclose its identity and nature, as a franchise of a
foreign, for-profit, privately owned corporation?

You were never required to have a marriage license to be lawfully married----but
was that fact ever fully disclosed to you by the STATE?

You have the absolute right to rescind your signature from any contract that
was not fully disclosed to you. Such a contract is null and void, as if it never
existed at all, and all payments and other asset distributions exercised under it are
subject to return to the lawful owner(s), plus reasonable interest.

You are not obligated by any contract obtained under conditions of fraud,
deceit, or non-disclosure. The STATE is culpable for its failure to disclose.

Any demand that you produce a “marriage license” as a prerequisite to access
services and benefits to which you are otherwise entitled---such as medical
insurance coverage for your spouse --- are illegal monopoly inducements.

This is just the tip of the iceberg.
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in the Presence of God, Pope Francis, and the World:

Let it be known to all living and dead, and to all those responsible for administration of the
affairs of the living and dead, that all commercial contracts ever actually or presumptively
existing between the living man known to the public as “ james-clinton:belcher” and the living
woman known to the public as “anna-maria:riezinger” and their similarly named ESTATES and
privately held American express and inter vivos trusts, including “Anna M. Riezinger-von Reitz
and James C. Belcher” and the following incorporated entities---the United States of America
(Minor), the city-state of Westminster, United Nations, UNITED NATIONS, the UNITED
STATES, Federal Reserve, FEDERAL RESERVE, International Monetary Fund, IMF, and ail
their respective franchises, agencies, and departments including the State of Alaska and STATE
OF ALASKA--- are all and uniformly invalidated for semantic deceit and non-disclosure.

All signatures of the living man and woman are rescinded from all documents in the possession
of any of these incorporated entities which claim or seek to claim any beneficial commercial
interest in them or their ESTATES or which claim any representative capacity related to them or
their ESTATES whatsoever.

All interest, good faith service, and accrual on investment owed to the living people as the
beneficiaries and entitlement holders of their own ESTATES is due and owed to them and their
heirs without exception or prejudice by the officers and administrators of the United States of
America (Minor), the city-state of Westminster, and the United Nations.

Be it also known that these and other individual American Nationals now exercise their birthright
upon the land of the organic states united by the Articles of Confederation (1781) and that they
have the full and unimpeded right to act as Judges of these organic states, to issue orders related
to their administration, and to demand compliance with all Articles of the national trust indenture
and commercial service contract known as “The Constitution for the united States of America”
and all related international treaty provisions owed to us by the United States of America
(Minor) and the United Nations and the city-state of Westminster, and any successors, executors,
administrators, corporate officers, elected or appointed officials, trustees, agents, agencies,
franchises, franchise operators, and employees thereof, now and in perpetuity.

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To: All Concerned and All Recipients of FINAL NOTICE dated February 3, 2014
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Fifty-five (55) days have passed without any sworn affidavit in rebuttal of the facts presented by
the FINAL NOTICE OF COMMERCIAL AND ADMINISTRATIVE DEFAULT issued to the
individuals, persons, and institutions responsible for default. All have been promptly and
properly notified of mis-administration of the public trusts established in the Names/NAMES of
living Americans and the organic American states by incorporated entities doing business as the
United States of America, Inc. and the UNITED STATES, INC. and their trustees, officers,
employees, and agents who are under contract to provide governmental services to those harmed.

Under Law of the Sea the claims and demands presented by the FINAL NOTICE OF
COMMERCIAL AND ADMINISTRATIVE DEFAULT dated February 3, 2014 are decided and
are now in permanent settlement. They stand as fact in law.

Notice of the Mofu Proprio issued by Pope Francis acting as Trustee of the Global Estate Trust
on July 11, 2013, has been presented to all directly interested parties in Alaska via ancient Edict
of Notice: Notice to Principals is Notice to Agents and Notice to Agents is Notice to Principals.
The United States of America (Minor) and the Federal Reserve Banks dba the United States of
America, Inc. and the United Nations City State and its agency the International Monetary Fund,
(IMF) dba UNITED STATES, INC. and its STATE OF ALASKA franchise are commanded and
required under contract to the Global Estate Trust to perform according to The Constitution for
the united States of America and to cease and desist action against the American people and the
organic American states, including Alaskans and the Alaska State created by The Alaska
Statehood Compact.

The Alaska Bar Association, its members, the various Court Administrators, and the Alaska
Judicial Council have been similarly notified and ordered to cease and desist practices,
presumptions, and procedures which serve to defraud living Americans and lay false claims
against their private property assets under pretense of war and color of law.

The entities addressed under FINAL NOTICE OF COMMERCIAL AND ADMINISTRATIVE
DEFAULT dated February 3, 2014 are all competent to recognize their culpability and failure to
perform under commercial service contract, failure to honor the national and state trust
indentures, and failure to provide full and free disclosure of contracts solicited by the named
governmental services corporations and agencies cited for default.

Absent a fully disclosed and actual maritime contract entered in evidence and subjected by
the court to examination and open discussion, no valid contract can be presumed to exist
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and no American ESTATE or other vessel can be prosecuted under any maritime or
adiniralty jurisdiction. No contract based on unilateral, uninformed, undisclosed, or otherwise
prejudicial claims of residency, benefit, status, license, mortgage, or other contract lacking true
equitable consideration and consent can be maintained with regard to the ESTATES of American
Nationals who are living inhabitants of the land and air jurisdictions of the Global Estate Trust,
and not naturally subject to the jurisdiction of the sea.

All such American Nationals who are inhabitants of the land and their ESTATES are
additionally protected by treaty and national trust and are owed safe conduct for themselves and
their commercial vessels on the High Seas and Navigable Inland Waterways. For military
tribunal purposes, all American Nationals, American ‘persons’, and commercial vessels are non-
combatant civilian Third Parties,

All Provost Marshals, all members of the civilian police forces, all members of the American
military, all members of STATE operated National Guard units, all members of government
agencies including the U.S. Marshals Service, FBI, State Troopers, BLM, BATF, IRS, and other
code enforcement agents are ordered to recognize the civil authority of the organic 50 states
created by Statehood Compacts and united under The Articles of Confederation, and to also
recognize the absolute civil authority of the American people inhabiting these organic and
geographically described states in all matters pertaining to them and the administration of their
domestic government on the land known as The United States of America (Major), not to be
confused with the United States of America (Minor) which is a foreign, maritime entity under
commercial contract to provide governmental services for The United States of America (Major).

All police and military officers are obligated to honor the Law of the Land in all dealings with
or pertaining to the organic states and their living inhabitants without exception, noting that these
people and states are owed the terms and conditions of the original equity contract known as The
Constitution for the united States of America, are to be addressed under American Common
Law exclusively, and that they retain their natural and unalienable rights, including their natural
identity, property rights and controlling interests without prejudice and regardless of fraud
and monopoly inducement practiced against them in breach of trust and contract default.

All actions of the various Probate Courts operating in maritime jurisdictions and merely
presuming death based upon the inaction of American National beneficiaries of the American
Republic and serving to establish maritime salvage liens against their ESTATES are by these
Orders invalidated, made null and void. All American Nationals whose names and ESTATES
are presently included on tax rolls, and who are recorded by census data, school records, birth
certificates, and other public documents must be presumed to be alive and competent in the
absence of a properly sworn Death Certificate signed by the local Coroner stating cause of death,

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date, time, and place, corroborated by at least two responsible and knowledgeable living
witnesses. In the case of legitimately missing people diligent search and fully disclosed
publication of all claims against their estates must be made by giving Notice to the last known
address and next of kin. Any contrary presumption or practice is fraudulent, null and void.

Any action of the Probate Courts operating in maritime jurisdictions and making claim upon
actual real assets of similarly named American Nationals in behalf of legal fiction “missing
persons” owned by the United States of America, Inc., UNITED STATES, FEDERAL
RESERVE, or any franchises or agencies thereof, are similarly rendered null and void. Once
created legal fictions do not have any necessary or valid estate; such estate as they may
legitimately be granted must be obtained under conditions of fully revealed and disclosed
contract entered into voluntarily and with explicit individual understanding and consent. Any
estate obtained by legal fiction entities by process of semantic deceit or undisclosed contract
belongs in fact and law to those defrauded. These Civil Orders command and require the return
of all titles to land, homes, properties, and businesses which have been held under color of law
by the Federal Reserve doing business as the United States of America, Inc., and their
bankruptcy Trustee, the Secretary of the Treasury of Puerto Rico, and their administrative agents,
including the Custodian of Alien Property and the Comptroller General.

All separate registrations under the Sheppard Towner Act and the Selective Service Act of
American Nationals and their progeny by agents of the United States of America (Minor) dba the
United States of America, Inc. and its various State franchises and subsequently maintained by
STATE franchises of the United Nations and the International Monetary Fund, are invalid as a
class for anything but traditional recording purposes and the benefit of any securities based in
whole or in part upon these and any other involuntary or undisclosed registrations such as
“Vehicle Registrations” are private property benefiting the individual American Nationals who
are the lawful entitlement holders of all commercial vessels operated under their given names
by any corporation providing governmental services, including banks. All vessels in commerce
operated under the names of American Nationals are owed full treaty and trusteeship obligations
from the United States of America (Minor) and the United Nations and all franchises and
agencies which these nation states operate worldwide.

These Civil Orders command performance delivering unto Caesar upon the land, including
return of all real assets and property owed to American Nationals free of claim, debt, and
encumbrance created under conditions of fraud, breach of trust, and breach of commercial
contract.

All judges, attorneys, clerks, and other employees of incorporated courts and court systems,
together with the international banks employing them, who have knowingly failed to fully and
freely disclose their nature, identity, status, jurisdiction, standing, and venue are subject to
international criminal prosecution for felony fraud under full commercial liability and officers of
the law and military officers who enforce illegal actions ordered by these in-house international
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commercial tribunals against American Nationals at the request of any such “court” are
responsible for war crimes committed against non-combatant civilians as of September 1, 2013,

All politicians and Trust Management Organization employees acting directly or via franchise or
agency who have been elected or appointed to private corporate offices within governmental
service corporations, their franchises, or agencies, and who have knowingly pretended to occupy
public offices of the American organic states and who have transgressed beyond their limited and
private authority are fully liable for impersonating American public officials while acting as
private corporate officers.

All federal and federal franchise (“State” and “STATE”) employees who have willfully and
knowingly conspired to misinform, mislead, mortgage, indebt, extort credit from and otherwise
undermine the material interests of American Nationals via non-disclosure, fraud, racketeering,
force of arms, extortion, compulsion, semantic deceit and constructive unlawful conversion are
guilty of international war crimes against unarmed and non-combatant civilian inhabitants of the
land and against commercial vessels belonging by birthright and copyright to those inhabitants.

The United States of America (Minor) and the city-state of Westminster and its franchises,
employees, and agents, are ordered to comply with all stipulations and limitations required by the
original equity contract known as “The Constitution for the united States of America” when
addressing American Nationals, and when providing any and all government services to
American Nationals inhabiting the land of the domestic geographically defined 50 states. They
are likewise commanded to release all titles and claims held under color of law against the
ESTATES of the American states and the American Nationals inhabiting the organic states of the
Union. All incorporated governmental services organizations must immediately cease all action
against the material interests of their employers and creditors, the American states and people,
and settle all accounts.

There are no so-called “war powers” allowed to any member of Congress representing The
United States of America (Major), which has remained at peace since 1865. Likewise, there are
no “emergency powers” granted by any of the organic states, no indefinite detainment provisions
applicable to any American National under the National Defense Authorization Act 2012 or any
similar “Act” of Congress. All “Acts of Congress” undertaken without full commercial liability
and not fully enacted as Public Law apply only to the employees and citizens of the United
States of America (Minor) and no claim of employment or “US citizenship” made by the United
States of America (Minor) against any inhabitant of the land of the 50 states can be maintained
on the basis of undisclosed, unilateral, or second party contract or presumption in violation of the
actual American Public Law governing US citizenship, US Statute at Large 2.

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Any deliberate or systematic use of the given name of any living individual man or woman by
any incorporated entity pretending to represent them or their material interests to create
legal fiction entities operated under-in-or for their name without the full knowledge and consent
of that individual is a prohibited abuse of the rights of usufruct. All such acts, proposals,
programs, and agencies created by the United Nations and by the United States of America
(Minor) addressed to American Nationals seeking to conscript, obligate, indebt, misinform, or
entrap them into any contract whatsoever in which the identity and true nature of the Parties is
obscured, not in kind, or wherein the actual terms, claims, conditions, and results of contract are
not made explicit, plain, and fully revealed are null and void ab initio, as if they never were. All
representations serving to misappropriate the good faith and credit of American Nationals and
their organic states in favor of any incorporated entity are self-interested, null and void. All
registrations, licenses, application processes, and similar devices used by the Federal Reserve
dba United States of America, Inc. and International Monetary Fund dba UNITED STATES and
the FEDERAL RESERVE now operating as an entity incorporated under United Nations
auspices, and their various agencies and “state” franchises, are fraudulent, null and void, contrary
to Public Law of the United States of America (Major) and the individual free states.

Any undeclared agent of the United States of America (Minor) or the United Nations
caught soliciting such contracts will be arrested, prosecuted, and deported and no further
enforcement of such contracts will be allowed on the soil of the United States of America
(Major) against any birthright inhabitant of the land.

Such foreign, repugnant, and misrepresented commercial contracts include but are not
limited to: vehicle registrations, driver licenses, marriage licenses, voter registrations,
applications for welfare or medical or insurance benefits, including “social security
insurance”, claims of foreign citizenship or foreign personage, residency, mortgages, and
public employee retirement benefits.

Parents are not enabled to indebt, pledge, conscript, or otherwise enter their children into any
form of bondage, debt, peonage, or enslavement. Any and all relinquishments of individual or
parental rights must be voluntary, fully disclosed, completely enumerated, fully discussed, and
the real natures and actual identities of all parties to any custodial, commercial, or grant contract
of any kind whatsoever, like any agency appointment, must in all details be fully revealed and
disclosed, explicitly discussed, explicitly agreed upon, and voluntarily entered into by all parties.
Any contracts failing these requirements and merely being presumed to exist via tacit
agreements, third party representations, or presumed benefit are null and void.

These Civil Orders require that all law enforcement and military officers currently in the
employment of the United States of America (Minor), the city-state of Westminster, and the
United Nations, together with their commercial companies under contract to provide services
within the 50 states United be fully and freely informed of these facts and the limitations that are
fully applicable to them and their operations on American soil. All American Nationals are to be
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considered non-combatant Third Parties without exception, who are owed peace and protection
and performance upon all commercial contracts, treaties, trust indentures, and agreements
entered into with the Global Estate Trust and its members, franchises, and agencies.

These Civil Orders also require that corporate administrative tribunals being operated as courts
of any kind explicitly and fully declare their identities, natures, venues, services, ownerships, and
proper jurisdiction in plain, explicit, fully revealed language with no further purpose of evasion,
obstruction, or lack of good faith service. They are additionally commanded to scrupulously
observe their limitations and to clearly state their foreign jurisdictions whenever addressing
American Nationals.

These Civil Orders come without the United States of America (Minor), without the United
Nations, without the city-state of Westminster, without representation, and without prejudice.

NOTICE TO AGENTS IS NOTICE TO PRINCIPALS.
NOTICE TO PRINCIPALS IS NOTICE TO AGENTS.

This Final Judgment and Civil Orders are issued upon our civil, commercial, and canon authority, by our
living hands and our testaments jointly swom and Witnessed by Our Seals and autographs before Pope
Francis and all nations, declaring that the truth of these matters has been established by due process
without rebuttal, and that they have been decided this | 1" day of April 2014. We hereby autograph, seal,
and issue this Final Judgment and Civil Orders to all officers, appointees, agents, franchises, agencies,
subsidiaries, and employees of the United States of America (Minor), the city-state of Westminster, and
the United Nations operating on the land of the 50 organic states of The United States of America (Major)
and subject them to performance of all treaties and contracts owed as employees, public servants, trustees,
administrators, commissioned officers and in all and any capacities whatsoever which allow their
presence on our soil and which provide for their strictly defined and limited use of our property:

__: Judge anna~maria-wilhelmina-hanna-
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ANSWERS TO QUESTIONS

1. What does the Pope, the Holy See, and the Vatican have to do with anything?

All forms of law beginning with Ecclesiastical Law and including the ancient Law
Merchant and Law of the Sea, the Roman Civil Law, and most recently, the Uniform
Commercial Code and International Criminal Code are ultimately defined by the Holy See and
administered by the Roman Curia, under the Trusteeship of the Pope. Control and caretaking of
the earlier law forms was undertaken by the Holy See during the First Holy Roman Empire (800
A.D.) and by contract and consent, has remained in the Holy See’s control ever since. The two
more recent law forms, the Uniform Commercial Code and the International Criminal Code are
copyrighted by Vatican subsidiaries.

The Papacy has functioned in two distinct roles for over 1200 years, exercising both
sacred and temperal powers. The Pope is named in two distinct offices and wears two
different hats. As the leader of the Church and in sacred office, he is properly regarded as “His
Holiness Pope Francis”. As the CEO in charge of worldwide commercial affairs executing the
temporal powers of the second office, he operates as “FRANCISCUS”.

The duties of both offices are distinct and yet ultimately inter-related, due to the Pope’s
responsibility to oversee the Global Estate Trust. Since the 1400's (see Primary Source Reading
List) every Pope has acted as the ultimate Trustee and Steward of the entire Earth conceived asa
Trust: the Global Estate Trust. This Trust, which was created over 400 years ago, is divided into
three jurisdictions---Air, Land, and Sea. All three are further divided into realms of the Living
and the Dead---the living being actual flesh and blood men and women and animals and other
creatures in which the blood flows or sap ascends, the dead being all those organic entities who
have died and ali legal fiction entities, including trusts, corporations, foundations, transmitting
utilities, cooperatives, limited liability partnerships and so on.

The Air Jurisdiction remains with the Holy See, is universal, global, and inclusive in
nature regardless of individual religious preferences or beliefs, rules all affairs from the surface
of the Earth to the Heavens, is inhabited by spiritual beings both living and dead, has a global
population, functions under the Law of Love and the Ancient Law of Freewill and is
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administered via ecclesiastical canon law generally under direction of the Rectors of the National
Shrines established in each country.

The Sea Jurisdiction is international in character, has an international citizenship, rules
all affairs on or directly below the surface of the seas and navigable inland waters, is inhabited
by living men and women known as Merchants and Sailors, and all living sea creatures, as well
as all ships and legal fiction entities engaged in maritime and admiralty businesses and contracts,
functions under the Law Merchant (maritime) and Law of the Sea (admiralty) and is
administered worldwide by the British Crown Temple dba Inner City of London aka
“Westminster”, and the Lords of the Sea.

The Land Jurisdiction is national in character, is inhabited by living men and women,
together with land creatures and plants, has a citizenship based on nationality and which in most
instances includes both the living men and women and legal fiction entities, rules affairs of the
land from the surface to the depths beneath, functions under The Law of the Land, and is
administered worldwide by the Universal Postal Union and the individual national Postmasters.

Each jurisdiction—Air, Land, or Sea---has its own law forms. The Air functions under
ecclesiastical and canon jaw. The Sea functions under the Law Merchant and Law of the Sea.
The land functions under the Law of the Land.

This is the Big Picture, and in the end, it is all administered by the Holy See and the
Roman Catholic Church, which has struggled by turns to maintain an “orderly and peaceful
Kingdom on Earth” and at times through its history has admittedly been overwhelmed by
corruption and human error.

By its nature and function the Global Estate Trust has established a vast interlocking
trust directorate that exists worldwide and extends from the Holy See down to the local level of
government administration.

A trust is formed when a Donor places assets into the care of a Trustee for the good of
Beneficiaries. In forming the Global Estate Trust it was considered that Christ placed the entire
planet in the care of St. Peter, that the Pope is Peter’s successor Trustee, and over time it has
been realized that all people and living creatures are intended Beneficiaries of the Global Estate
Trust, not just members of the Roman Catholic Church. This realization is one of the most direct
results of the Protestant Reformation, which asserted individual dominion over the Earth as
granted in Genesis 1:26-28. Today, as confirmed by Popes John Paul II, Benedict XVI, and
Francis, the Global Estate Trust serves all people regardless of faith, color, or creed.

2. How does the Global Estate Trust function? Why haven’t I heard of it before?

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The Global Estate Trust is over 400 years old. It was older than The United States of
America is today when The United States of America was formed. It has organized the entire
planet according to its system of postal districts---also called “federal districts” in America. The
Global Estate Trust and the services it provides----legal services, banking services, police
services, postal services---is so ubiquitous, so integrated worldwide, that we take its existence for
granted and wrongly think that our individual government provides all this.

The truth is that the so-called “federal government” in America has always been owned
and operated as a private for-profit governmental services company operating under contract
to provide certain stipulated governmental services, and---later in history, has been operated
as an umbrella corporation with subsidiaries created as franchises and agencies under subcontract
to provide these same services by the Global Estate Trust and its national subsidiaries.

Side Note: In the cighteenth century when the original equity contract known as “The
Constitution for the united States” was drawn up, the word “federal” was a synonym for
“contract”, so the nature of the government as an entity under contract to provide services was
apparent to the people. The state legislatures formed to represent the land Jurisdiction as separate
nations ---the larger equivalent of city-states----and the people inhabiting these organic states
were clearly aware of the subservient nature of the federal government in all matters not clearly
delegated to it as were the Founders and Framers of the Constitution. Article X clearly reserves
all other rights to the states and the people.

In summary, our entire planet receives governmental services from one gigantic
interlocking trust directorate: the Global Estate Trust. The gentleness with which generations of
Popes have exercised their power as the ultimate Trustee should not be mistaken for lack of
power, but rather as respect for Free Will and reluctance to interfere with those entrusted to
administer their own affairs. In the temporal realm a Pope is a man like any other man, and it is
often difficult to obtain all the facts and to be assured of right action. Restraint and tolerance
have therefore been the hallmarks governing the exercise of temporal power by the Popes for
many decades, but we are now entered upon a time when corruption and criminality have so far
progressed among many governmental service corporations worldwide that maintaining the role
of global trustee has required action by the Pope and the Holy See.

Over time, specialized service centers organized as separate city-states have taken over
specific aspects of the operations of the Global Estate Trust. This so-called “Empire of the City”
spans the globe. Rome and Vatican City remain the home base of operations responsible for
overall administration worldwide. The Inner City of London, also known as “Westminster”, is a
separate, independent, international city-state within London and it is home to the Crown Temple
which administers legal services and is also home to the Fleet Street hub of international banking
services. The District of Columbia, another city-state, is the center of defense and police
services worldwide. The United Nations, yet another separate independent city-state, is the hub
of international trade, aid, and negotiations.
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Over the course of time, delivery of these many services has been organized by separate
for-profit corporations and organizations operating in each country under the auspices of an
umbrella Trust Management Organization functioning as the national government. Almost all
national governments have been incorporated by the Holy See. The American national
government is no exception.

The Pope acting in his temporal office and the Holy See and its administrative
management arms--- the Vatican, the Roman Curia, the British Crown, the Crown Temple, the
United Nations, the Pentagon, the Vatican Bank, the Universal Postal Union and a great many
other Global Estate Trust franchises and subsidiaries---provide nearly all governmental services
worldwide, in addition to their roles administering various obligations owed to the many national
trusts.

The Global Estate Trust is by far the largest corporate enterprise on Earth. Indeed,
the very concept of “incorporation” was created by the Holy See and incorporated entities
continue to be created and administered entirely under copyrights and administrative law forms
of the Roman Curia. The Pope has the undisputed right to liquidate any incorporated entity that
is not functioning lawfully and according to its charter. He may also order disposition of
corporate assets to the creditors of any incorporated entity that he liquidates, and can alter or
void any statute passed by any incorporated government at will.

People don’t see the Global Estate Trust in the same way that they don’t see the Earth
beneath their feet. It has always been there. They take it for granted as part of the landscape of
the world, but in fact, it is the result of tireless, conscious, determined effort expended over
centuries of time. There is, in essence, “one world government” and it has been here throughout
the development of the North American Continent as a commercial and political power, from the
earliest exploration and colonization down to the present day.

3. What is a “national trust” and why does it matter?

When a new nation is born and enters the international community as The United States
of America did in 1776, a contest begins over representation of the land and its assets. Once
such a contest is resolved, the Pope, acting within his temporal office is the Donor of all the
assets to be held in the national trust being established, formally recognizes the new nation. Asa
first step in this process, a postal district is established and a post office is created for the seat of
government. Benjamin Franklin accomplished this step more than twenty years prior to the
American Revolution.

There are four very commonly encountered entities that routinely call themselves either
“the United States” or the “United States of America” in some guise, three “Constitutions” of

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these entities that are commonly referred to, and three versions of “United States Congress” in
play. In all, there are over 350 different legaliy recognized meanings of the four words “united
states of America” so it is necessary to draw a line and focus for a moment on only two of these
entities---those representing actual national trusts. There is The United States of America
(Major) that represents the now-50 American states acting in perpetual union guaranteed
by The Articles of Confederation, and there is the United States of America (Miner) that
consists of the District of Columbia and “other insular states”---Guam, Puerto Rico,
American Samoa, et alia.

To add to the confusion, in addition to these trust-based entities, we also have an
incorporated commercial company doing business as the United States of America, Inc., another
commercial company doing business as the UNITED STATES, INC., and additional entities
doing business as the USA, the UNITED STATES OF AMERICA, E PLURIBUS UNUM THE
UNITED STATES OF AMERICA and so on. Be aware of the semantic confusions and deceits
that abound as a result._Note the slight differences in names---capitalization, punctuation,
and prepositions used throughout this document. Each slightly different name or spelling
or punctuation denotes a separate legal entity. Boldface is used herein merely to help sort out
some of these natural confusions and emphasize important points of interest.

We have The US Trust (Major) and the US Trust (Minor)---both—which are both
subsidiary national level trusts within the Global Estate Trust, both operating in tandem in the
region of North America. The “states” of the United States of America (Minor) are “states of
America” in the same sense that South American countries are “states of America”, e.g.,
Organization of American States is an organization of what are commonly thought of as nations,
but which can equally be called “states” and also “American states” without implying that they
are “states” affiliated with The United States of America (Major) or the United States of America
(Minor).

When The US Trust Major was established to benefit The United States of America
composed of the now-50 organic states united, the beneficiaries named were the American
people and their natural and unalienable rights were recognized as assets protected by the
national trust indenture contained within the Preamble and Bill of Rights of an original equity
contract known as “The Constitution for the united States of America”.

All inhabitants of organic, geographically defined states are living men and women.
They are all owed American Common Law as their law form. The entire civil government on
the land is vested in each and every single one of them. The jurisdiction of the Air protects
them and their property and interfaces with the governments operating upon the land jurisdiction
to ensure proper administration.

The governmental services required by the original Constitution were provided by a Trust
Management Organization operated as a private, for-profit, but unincorporated company known
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simply as “The United States”, which was organized by the Founding Fathers, especially
Benjamin Franklin, John Adams, Thomas Jefferson, James Madison, Alexander Hamilton,
Benedict Arnold, and George Washington.

“The Company” was organized in 1754 by Benjamin Franklin. George Washington was
its eleventh President. As the largest land owner in North America, Washington was an obvious
choice. The foremost objective of this commercial entity, which was privately fully supported
by King George Ii of England, was the westward expansion of colonization beyond the
Appalachian Mountains---in contravention of the Treaty of the Delawares which the King had
signed with the Native nations just prior to the American Revolution. From this perspective and
from the subsequent settlements reached with the leaders of the Revolution it can be reasonably
deduced that the entire operation was conceived, orchestrated, and carried out with the support of
European powers merely interested in securing a piece of the much larger pie guaranteed by the
westward expansion that was allowed via the artifice of establishing a new government. Portraits
of both Washington and Franklin enshrined at the Middle Temple enclave in the Inner City of
London suggest that they were in fact operatives of the Crown doing King George’s dirty work--
---a fact evident in the Treaty of Paris wherein the King is recognized as “the Prince” of the
United States of America, paid tribute in mineral resources, and guaranteed a perpetual
hegemony governing the commercial and international affairs of the Americans.

Presidents and members of Congress still take their Oath to “the United States”, not the
United States of America----howbeit, this is a different company called by the same-sounding
name —“the UNITED STATES”. This gives rise to confusion in the same way that two men
called “John” may be mistaken for each other. Watch for this same use of “mistaken identity” as
an excuse for fraud and despotism throughout the current system.

The Office of President is and always was a private business executive office, not a
political one, and as a result, to this day, the President is elected to office by a privately drafted
Electoral Coliege, not by voters in any General Election.

The original unincorporated Trust Management Organization first operated by President
George Washington was bankrupted by President Abraham Lincoln on April 24, 1863, as a result
of the cost of the Civil War. Eleven years of “Reconstruction”---- also known as bankruptcy
reorganization--- followed, and a quiet usurpation based on semantic deceit and not-so veiled
fraud commenced. Administration of the American national trust passed on to a new Trust
Management Organization operated by a cartel of international banks (which became the Federal
Reserve) as “the United States of America” and doing business as “the United States of America,
Inc.”.

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For insight into this, read the 1850 Act of Admissions which clearly delineates the role
and identity of the original organic and unincorporated “usa” verses the United States, and the
difference between the similarly named trust organizations and the commercial service
companies. Also read the Reconstruction Act of 1867 and the Act of 1871 incorporating a
municipal (city-state) government for the District of Columbia.

When the second national trust known as “the US Trust” was formed to benefit the new
District of Columbia city-state in 1871, the beneficiaries named were not “We, the People” of
the original national trust, but a mix of living people born in the District of Columbia and other
federal enclaves including Puerto Rico, American Negroes who were never granted other
citizenship after the Civil War, federal employees, members of the active duty military forces,
and incorporated entities formed under the auspices of “the United States of America (Minor)”.

Unlike The United States of America (Major), the United States of America (Minor)
allows corporations organized under its auspices to be “citizens”, a fact that has led to no end of
fraud and criminality.

All “US citizens” have only “Civil Rights” —-that is, privileges---granted by “the US
Congress”. This separate national entity initially operated its business affairs as “United
States of America, Inc.” — a corporation chartered in Delaware, under By-Laws published as the
Constitution of the United States of America. Note the differences in capitalization and the use
of the preposition “of” in place of “for” which distinguishes this version of “Constitution” as a
separate legal document from the original equity contract known as The Constitution for the
united States of America. The agents of the United States of America (Minor) also popularized
“The Pledge of Allegiance” as a means of providing tacit public notice and securing assumed
consent for its actions without, however, fully disclosing its nature and intentions or the process
of usurpation against The United States of America (Major) it engaged in.

Please note the actual words of The Pledge of Allegiance: “I (securing a claim of
individual consent) pledge (an ancient feudal act) allegiance (contract) to the United States of
America (which version is only indicated by the lack of capitalization on the word “the’’) and to
the Republic (original organic states’ government) for which it stands, one nation, under God,
indivisible, with liberty and justice for all.”

Note that there hasn’t been “one nation” since 1871. There have been two nations
operating under two separate administrative protocols and two national trusts, but it has been the
subversive objective of Congress to join both into one entity and operate it as an oligarchy, just
as the Congress currently operates the United States of America (Minor) as an oligarchy.

The Pledge of Allegiance--- an innocuous-appearing mantra endlessly repeated im public
schools and public meetings across America is a VERBAL CONTRACT secretly obligating the
victims to accept representation of their Republic by “the United States of America” which failed
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to properly identify itself or seek open consent and which merely claimed to “stand for” the
American Republic.

The Pledge of Allegiance is an undisclosed entrapment into contract ceding authority
to represent the individual inhabitants and the American Republic to “the United States of
America” similar to what happens when an unwary individual hires a lawyer to “represent” them
and “stand for” them in a court. The representative gains a largely unaccountable controlling
interest in the affairs of their actual employer who is relegated to the status of a ward of the
state, incompetent, or dependent.

As a result of this semantic deceit and duplicity, no valid new contract between the
organic American states and the United States of America (Minor) was ever established. The
“Constitution of the United States of America” remains a document peculiar to the United States
of America (Minor), not to be confused with the original equity contract known as The
Constitution for the united States of America.

At the beginning of last century there were two completely separate versions of “United
States of America” operating and two kinds of “US (C)itzens” and two “Constitutions” and the
“US Congress” was acting in two roles in conflict of interest. The original Constitution known
as “The Constitution for the united States of America” and the By-Laws of the newly formed
federal corporation known as “the Constitution of the United States of America” formed under
the auspices of the United States of America (Minor). All this semantic deceit was and is
extremely complex and deliberately designed to defraud and confuse.

A separation of the Land and Sea jurisdictions was set up from the very founding of The
United States of America and made part of the Treaty of Paris, Treaty of Westminster (with the
Inner City of London—a separate international City-State), Treaty of Ghent, et alia, however, it
was never envisioned that the District of Columbia would form a separate city-state and operate
a separate national government under deceptively similar names, simply by allowing
members of Congress to wear two hats and creating two kinds of “citizenship”.

These two separate national trusts operated under deceptively similar names have
co-existed for almost 150 years, but the semantic deceit involved has resulted in endless
confusion, fraud, breach of trust, and ultimately, identity theft practiced by the United
States of America (Minor) against The United States of America (Major). Additional insight
into this development of “two Americas” can be gained by reading the Insular Tariff Cases
(1900-1904) ---the most famous of which is Downes v. Bidwell.

The separate National Trusts create two separate nations--- The United States of America
(Major) which includes the 50 domestic States bound in perpetual union by The Articles of

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Confederation (1781) and the United States of America (Minor) which represents the District of
Columbia (formally renamed the “State of New Columbia” in 1984) in union with the so-called
“Insular States” comprised of “federal possessions and territories”. The circumstance also
creates two kinds of citizen--- U.S. Citizens and US citizens as already noted.

The United States of America (Major) is a Republic composed geographically defined
states and inhabited by living men and women. These states (small “s’’) are all formed by
Statehood Compacts. This version of United States of America functions under the Law of the
Land which is the American Common Law and the federal government---that is the Trust
Management Organization charged with protecting The U.S. Trust and providing the nineteen
stipulated governmental services under contract---- is restricted by The Constitution for the
united States of America.

Members of “The United States of America in Congress assembled” are obligated to
function under complete commercial liability and as a sovereign Body Politic, with the result that
no “Congress” has occupied these offices since 1865, and the further result that no substantive
and fully enacted Public Law affecting U.S. Citizens has been passed since then. The organic
states and the people inhabiting them have been silent since December of 1865, a circumstance
that unscrupulous individuals have used as an excuse to claim that the American government is
definct---despite the fact that the actual civil government is embodied in each and every living
American.

As you will note upon reading the Admissions Act of 1850, the Congress operating as a
Body Politic is the “congress of the united states of america” operating as the “senate” and the
“house of representatives” directly representing the living American People and the Republic
states. When operating as the true representative government of The United States of America
(Major) the names of these political bodies are never capitalized. This is not a typographical
error or the result of quaint old language conventions. This is part of the language of law that
has existed since Roman times.

The United States of America (Minor) is a Commonwealth inhabited by “US citizens” — a
mix of living people and incorporated entities. This separate city-state is operated as an
oligarchy by the members of the “US Congress”. It functions entirely under the law forms of
international commerce (maritime) and Admiralty. The “US Congress” of the United States of
America (Minor) also operates as the Board of Trustees of the United States of America, Inc.,
and its members enjoy limited liability----with the result that they can only pass “Public Policy”,
not Public Law. Increasingly, this out-of-control oligarchy has functioned in a criminal,
despotic, irresponsible, and reckless manner, disrespecting its contractual obligations to The
United States of America (Major), misrepresenting itself “as” The United States of America
(Major), and facilitating numerous kinds of fraud, racketeering, and inland piracy against the
American People inhabiting the 50 States while pursing increasingly violent and criminal
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activities overseas---trading in drugs, prostitution, alcohol, arms, and other “federally controlled”
substances.

The national trusts—which are all donated by the Pope in his capacity as the Global
Estate Trustee--- are important because they define the assets of the nation and the beneficiaries
of the trust. They also obligate specific parties to act as Trustees and to protect the nation
under trust indenture and contract.

The Pope is the Ultimate Trustee and the Global Trustee of the Air Jurisdiction. The
Rector of the National Shrine is responsible for administration of this jurisdiction in the United
States of America (Minor), and is therefore responsible for holding their administrators
accountable. The British Monarch is our Trustee on the High Seas and Inland Waterways and is
directly accountable for protecting us and our commercial “vessels” in the international
jurisdiction where our rights and material interests have been violated. The U.S. Postmaster is
our Trustee on the Land, but owing to the corruption of the government already described, that
office was vacated and released. In correction, Pope Benedict XVI established a new Postmaster
Office to provide oversight for all of North America in 2010.

4. You’ve charged that there is commercial and administrative default----why? What is
this bankruptcy you keep talking about?

There are actually several bankruptcies involved, beginning with the bankruptcy of The
United States (Company) in April of 1863. That resulted in Abraham Lincoln creating the
Lieber Code, also known as General Order 100, and making the U.S. Army responsible for
safeguarding the nation’s money. The United States of America (Major) still operates under the
Lieber Code and despite no less than three (3) public declarations ending the Civil War by
President Andrew Johnson, the U.S. Army continues to control and administer the government of
the Republic. This is how we get offices containing military titles like Inspector General,
Lieutenant Governor, and US Postmaster General.

This is also why we have been kept in a constant state of “war’----at least on paper----
since 1860. Over time, public knowledge of the circumstance and the Lieber Code has faded,
leaving the U.S. Army to increasingly function without any oversight or restraint. Understanding
of their role as guardians of the Republic and the people has also faded within the ranks, until
today we are faced with the possibility of having the President of a foreign commercial
corporation ordering our own troops to fire on us. We may all thank God that the Holy See
remembers things long after others forget, and has the resources to remind the U.S. Anny of its
real purpose and mission.

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Next, there was the bankruptcy of the United States of America, Ime. in 1933, by
Executive Order of its President, Franklin Delano Roosevelt. The Creditors of this commercial
bankruptcy, the World Bank, IBRD, and Federal Reserve — (the IMF claims to represent all
creditors including the living Americans who were named the priority creditors)---appointed
the Secretary of the Treasury of Puerto Rico to act as the US Bankruptcy Trustee.

Still to come is the bankruptcy of the UNITED STATES (ncorporated), a French
commercial corporation named after the original “United States” bankrupted in 1863, and
formed to administer the governmental services contracts of the United States of America, Inc.
during its bankruptcy reorganization.

These bankrupicies of the Trust Management Organizations providing governmental
services to Americans have all been planned ----and they provide vast profit for the perpetrators
and equally great losses to the American people.

The Great Bankruptcy Fraud

This is the essence of the bankruptcy fraud: one Trust Management Organization
(incorporated) creates “franchises” named after individual living Americans, runs up huge bills
against these legal fiction entities, leaves the hapless living people of “similar name” to pay the
bills or have their credit wrecked and their private property assets seized-----while skipping off
and filing for bankruptcy protection for itself.

Meanwhile, another incorporated Trust Management Organization sets up shop under a
similar name and takes over the service contracts “in behalf of” the former TMO undergoing
bankruptcy reorganization, creates its own set of franchises named after living Americans, runs
up huge bills against these separate legal fiction entities, leaves the hapless living people of
similar name to pay the bills or have their credit wrecked and their private property assets seized-
---while skipping off and filing for bankruptcy protection for itself.

Repeat as necessary----for as long as you can get away with it.

The two Trust Management Organizations currently involved are both operated by
international banking cartels. The Federal Reserve, which is as “federal” as Federal Express,
operates the United States of America, Inc. The United Nations, Inc. doing business as the
International Monetary Fund, Inc. (IMF) operates the “secondary” front organization doing
business as the UNITED STATES, INC.

As of July 1, 2013, the hapless American people mistaken as sureties---- and their Estates
functioning under names in the form “John Quincy Adams” ----paid off all the debts, all the
interest, all the trumped up service charges that were brought against them as a result of the
bankruptcy of the United States of America, Inc. in 1933. The United States of America, Inc.
was released from bankruptcy and all its debts were settled as of that date.
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The Federal Reserve has meanwhile re-named and re-invented itself as a new corporation
organized under the auspices of the United Nations, a separate city-state, and is doing business
internationally as the FEDERAL RESERVE. That is, it is no longer an American institution and
is operating under UN rules and charter.

At the same time, the UNITED STATES, INC. is running up trillions of dollars of debt
against the credit of its own brand of manufactured out of thin air “sureties”---- Puerto Rican
ESTATE trusts operated under the NAMES of living Americans in the form “JOHN QUINCY
ADAMS”----with the clear intention of having Barack Obama declare bankruptcy just as FDR
declared bankruptcy---leaving the hapless living Americans of “similar name” to pay off the
trumped up debts of the UNITED STATES, INC. while it seeks bankruptcy protection in turn.

The newly organized “FEDERAL RESERVE” is busily populating America with
yet another new set of “franchises”-----these new legal fiction entities named after living
Americans are all being named in this form: “JOHN Q. ADAMS”, which isn’t even a legal,
identifiable name, and they are all transmitting utilities.

When people pay bills addressed to these new entities and appear to “accept” these new
names ~- having been misled into assuming that these entities are the same as the living people---
the charlatans will have carte blanch to make a whole new con game set up for themselves, assert
new claims against the people and the states “redefined” as public transmitting utilities, and not
be bound by “specificity”.

Please note that “JOHN Q. PUBLIC” could be “JOHN QUINCY PUBLIC” or “JOHN
QUENTIN PUBLIC” or, or, or. The lawyers among us know perfectly well that “JOHN Q.
PUBLIC” is not a legal name. It is purely a commercial, trade-marked name belonging to a
corporation as chattel, and the reason this change is being attempted is that the IMF is no longer
able to charge off the cost of providing government services to the ESTATES of the American
People which were improperly held as “sureties” backing the debts of the United States of
America, Inc.---- a “doing business name” of the old Federal Reserve System.

it is imperative that this scheme be recognized and stopped at the onset and that
these false claims by the FEDERAL RESERVE be objected to immediately, individually,
and collectively.

Their intention is clear and the history is cast in cement. These Trust Management
Organizations have committed gross breach of trust, gross fiduciary malfeasance, gross unlawful
conversion, gross identity theft, gross conspiracy to defraud. They are international crime
syndicates in every sense of those words, and they are on the verge of repeating their past
history; like parasites, they have simply “moved on” to other hosts, passing from The United

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States of America (Major) to the United States of America (Minor) and now to the United
Nations City-State.

The federal reserve, an unincorporated association of banks operating under the
auspices of The United States of America (Major) in 1900, moved on to become the Federal
Reserve, an incorporated association of banks operating under the United States of America
(Minor) circa 1930, and it is now moving on again, to function as the FEDERAL RESERVE,
an entity incorporated under the auspices of the United Nations, which is a separate,
independent, international city-state that has allowed the FEDERAL RESERVE to be
incorporated under its auspices.

The Pope, in issuing the Motu Proprio of July 11, 2013, has said in effect---- “Enough.
You are liable and will be held liable as of September 1, 2013.”

This continued identity theft and pillaging of private property “in the name of public
trusts” isn’t going to be allowed. The resources of the entire Global Estate Trust will be
mobilized to make sure that this pattern of abuse does not continue. Each and every one of you
addressed has participated knowingly or unknowingly in some capacity necessary to the success
of this gargantuan fraud and you are now being notified of the facts and encouraged to self-
correct.

It would not be right or fair to sweep up the innocent with the guilty, so you have all been
given multiple notices and opportunities to learn the facts. The Trust Management Organizations
themselves have been given three (3) years in which to correct their operations from top to
bottom or face dissolution of their charters and disposition of their assets. From the perspective
of the Global Estate Trust, it doesn’t matter where the ‘federal reserve’ banks run and hide or
under which national entity they choose to incorporate. The basic issues remain the same and
everyone on earth has a stake in bringing this system of fraud and enslavement to an end.
Everyone who works for or under the auspices of the Roman Curia---everyone in the legal
profession from the lowliest clerks to the highest judges—became 100% liable for their acts and
omissions with regard to these issues as of September 1, 2013.

All this is why we have brought FINAL NOTICE OF COMMERCIAL AND
ADMINISTRATIVE DEFAULT, and that is why we keep talking about bankruptcies. Unless
everyone recognizes their own culpability and takes action accordingly to pre-empt it, there will
be another manufactured “national” bankruptcy in the near future and billions of people
worldwide will suffer to profit a few hundred masterminds at the top of the pyramid scheme.

5. How is our money involved?

A partial answer was provided above. When the Trust Management Organization doing
business as the UNITED STATES declares bankruptcy the living people will again be
“presumed” to be sureties for its debts---absent concerted effort to derail the cycle of engineered
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national bankruptcies. Those international investors who are owed money by the UNITED
STATES, INC. will come knocking on the doors of millions of Americans, under the false
presumption that these people agreed to stand as sureties for the debts of Harry Reid, Nancy
Pelosi, et alia, all doing business as the UNITED STATES, INC.

This is constructive fraud based on semantic deceit and identity theft being carried
out by private, for-profit, largely foreign corporations operating on American soil under
charters and treaty arrangements that they have abundantly and criminally violated.

Your currency---not your “money”--- is inevitably involved, because for eighty years you
have been passing around 1.0.U’s instead of any form of money. A “note” is an LO. U. anda
“Federal Reserve Note” is an ].0.U. from the Federal Reserve Banks. It is impossible to pay a
debt with an I.0.U. You can only go deeper into debt as a result of this practice. A negative
plus a negative never equals a positive.

Here is the circumstance: you owe $500 and you have no actual money to pay this debt.
The only “legal tender” in circulation is in the form of I.0.U. Notes issued by the Federal
Reserve Banks. Deliberately placed in this situation by the perpetrators of this fraud, Joe
Average American is under monopoly inducement and has no choice but to “pay” his debts
with 1.0.U.’s, and thereby become a debtor, instead of a creditor.

if | give you an 1.0.U. as payment of a debt, have I paid you? No. I have only
postponed payment of my debt to a later time. That’s what the Federal Reserve has done--
-collected debt upon debt upon debt and never paid a dime toward any of it, since 1933.

What happens when you go out and earn $500.00 worth of Federal Reserve Notes? Your
labor allows you to pass off the debt to the Federal Reserve. You are out of the frying pan for
the moment, but the debt is still unpaid. That’s how the “National Debt” accumulates,
exponentially. In such a system, nobody ever gets paid for anything--- the debt just gets passed
around and builds up and up and up no matter how hard you work or how productive you may
be.

instead of being what you actually are, a nation of creditors, you are reduced by
sleight of hand and fraud and monopoly inducement to being debtors by definition, and
you can never get out of the cycle of false “debt” until you recognize the fraud for what it
is, stop playing the game, and put an end to it.

What does the Federal Reserve do with all this debt it has been collecting for eighty
years? It enters it as a credit for itself against your estate. Not only has your original debt
not been paid, but interest and service fees have been added to it, and that has all

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accumulated agamst your estate—your body, your labor, your home, your business, your
copyrights and intellectual property.

What happened to the value of your original labor that you expended to earn Federal
Reserve Notes? It never got credited to you. Instead, it was siphoned off by the same people
who brought you this incredible fraud. Your credit has been kept in “off book accounts”
belonging to YOUR NAME---a Puerto Rican Estate trust, and after a period of time, the banks
have claimed these assets as “abandoned funds”. They are holding the entire National Debt
against the estates of living Americans and pretending that you and your parents and
grandparents did nothing but sit on your rumps since 1933.

Every American who ever signed up for Social Security---having first been blatantly lied
to and coerced by undeclared Foreign Agents of the United States of America (Minor) and told
that Social Security was a retirement insurance program and that it was a mandatory requirement
of having a job in America---has been claimed to be an unpaid volunteer employee of the
“federal government” corporation by the perpetrators of this con game and therefore, a “US
citizen” instead of an American National.

Unknown to those same American Nationals, the corporations masquerading as their
lawful government used their “voluntary application” for “Social Security benefits” to obtain a
veiled general Power of Attorney hidden in the SS-5 Form, and used it to seize control of their
ESTATES. They then set up two accounts “in their names”’----one administered by the Federal
Reserve’s Internal Revenue Service and one administered by the “IRS” for the International
Monetary Fund. One account is set up as the debt side account and follows the familiar pattern:
XXX-XX-XXXX. The other account is set up as the credit side account and uses the same numbers
without hyphens: *123456789*.

Most American Nationals are owed several million dollars worth of credit owed to their
individual ESTATE accounts, but the perpetrators of the fraud never disclose this fact. The
“richest people on earth” live as debt slaves to international banking cartels that have obtained
this position by fraud.

The final cherry on top is that these same banking interests use your tax money to buy
million dollar life insurance policies on each and every “US citizen”---benefiting the bank, of
course. Thus, even at the end of your lives, the banks contrive to profit from you, and they
always have profit motive to kill you. Killing off young people brings more profit, which,
together with stealing and controlling natural resources to manipulate commodity markets,
explains why promoting wars for profit are favorite pastimes for these unspeakably corrupt and
evil corporate entities.

The same situation applies in Canada, Australia, New Zealand, and most of Europe. The
same nine digit accounting system is used throughout, and abused in the same ways worldwide.
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6. What is convertible debt?

A convertible debt is any form of debt that can be converted into another form of
debt. Federal Reserve Notes can be converted into mortgages, stocks, bonds, annuities----any
other “debt instrument” or “debt based security”. A fraudulent convertible debt is a debt that
is created by fraud and then converted. That’s what we have going on in America right now.

Pull up the Bankruptcy Act and look at Section 101 (11). There you will see who the
actual Creditors of the Trust Management Company FDR bankrupted in 1933 are----the living
people, Americans at that time and their heirs, are the Priority Creditors and Entitlement
Holders, but because of the monopoly inducement explained in Item 5, you’ve all been
arbitrarily “redefined” as “debtors” instead.

What happens when you pay an electric bill addressed to the federal franchise ESTATE
trust currently doing business under your NAME as a franchise of the UNITED STATES, INC.?
You become a debtor instead of a creditor so long as you pay it in Federal Reserve Notes. The
utility company seizes these debt notes you’ve so graciously provided to them for free and
converts them into other forms of debt---buying up stocks, bonds, insurance policies, etc.----
benefiting itself.

The “debt” thus created is fraudulent on three counts--- first, it is the by-product of illegal
monopoly inducement forcing you to use Federal Reserve Notes as legal tender in the first place,
second, it is a debt owed by the federal franchise ESTATE trust doing business “in your name”
but deceitfully presented to you as if it were your debt, and third, you have been coerced to pay
off a billing “statement” instead of a real bill.

So we have a debt created by fraud converted into other forms of debt benefiting ---in this
example, a utility company which reinvests “your” Federal Reserve Notes in other forms of debt.
That is fraudulent convertible debt in practice.

This is yet another way in which you are being defrauded and the value of your
labor and other resources is being converted to benefit incorporated entities at the expense
of you and your private estate.

Next time you get a tax bill, a utility bill, a credit card bill or any other “bill” addressed to
YOUR NAME IN ALL CAPITAL LETTERS, look at it very closely with the understanding that
(1) the item is addressed to a Puerto Rican “federal franchise” ESTATE trust doing business in
your NAME, not to you; (2) the item is a “billing statement” or “billing summary” or some other
name, but never an actual Bill so technically, even the ESTATE has not been billed; (3) these
billing statements are not denominated in dollars---except occasionally by mistake----the
“amount owed” appears as a series of numbers, commas, and dots similar to that used to write

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dollar amounts, but there is no dollar sign and no words indicating the kind or form of money or
currency that is supposedly owed.

For example, your property tax bill will show up addressed to YOUR NAME and the
statement will show that YOUR NAME owes a number written like this: 6,955.43 for 2013 or
that YOUR NAME’S house has a value of: 258,990.00 according to the Tax Assessor’s Office.
These are just deceptively constructed series of numbers, dots, and commas designed to
make you assume that these represent dollar amounts. Again, technically, not even the
ESTATE has been billed for anything.

it’s all constructive fraud based on semantic deceit, illusion, and processes of assumption
knowingly pursued under conditions of non-disclosure.

This is done on purpose, with malice aforethought. The perpetrators are giving you
notice that a bill related to the ESTATE named after you exists, but they are actually and
purposefully preventing you from paying it. If they sent a real Bill, you could either discharge it
through the U.S. Treasury Window at any Federal Reserve Bank, or, you could present it for
payment under UNCITRAL and exchange it against your Birth Certificate Bond or other assets
held by the US Bankruptcy Trustees in your name. This process of discharging debts, unlike
using Federal Reserve Notes, actually pays the bill, and since the entire game is about forcing
you to indebt yourself, the perpetrators spare no effort to prevent you from discharging the bills
related to their “federal” ESTATE trust.

Another reason they refuse to provide you with an actual Bill is that what they are
doing is a crime.

As long as they are sending these “billing statements” to a federal franchise ESTATE
trust, they technically can’t be accused of billing you. As long as they don’t provide you with an
actual Bill, they can’t be accused of false billing, either. According to them, they don’t know
what you are talking about. What bill? We never sent that man a bill....we sent a billing
statement addressed to a Puerto Rican ESTATE trust that “just happens” to have the same
name and address. Who cares if we fully intend to force and coerce the living man to pay us
with an 1.0.U. and owe us even more debt after he “paid” than when he started?

7. Are you telling me that I don’t owe any taxes? How is that possible? It costs money to
provide governmental services. Lf 1 don’t pay my taxes, how will the schools be funded and
the fire departments and libraries stay open?

The fact is that all governmental services contracts are between states and other
incorporated entities, not states and people. Technically, it’s literally impossible for a living
man or woman to owe any tax for any governmental service.
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Remember that all valid contracts must be “in-kind”. Corporations can contract only
with other corporations. Living people can contract only with other living people. The
proliferation of “trusts” has been used as a vehicle ---literally creating a “commercial vessel”
capable of interfacing with corporations and entering into corporate contracts. The creation of
these “individual public trusts” and their supposed obligations has been done without the
knowledge, consent, or participation of the living people merely upon the “representations” made
“in their behalf by third parties claiming to “represent” them-----lawyers and unscrupulous
politicians.

Note that even the original equity contract known as The Constitution for the united
States of America is between the States and the government being created by contract to provide
the States with services—not the living people. We, the People, are only mentioned as the
beneficiaries of the Natural and Unalienable Rights that are assets held in the national trust and
further outlined and defined by the Bill of Rights. We are not direct parties to this or any
other governmental services contract.

As for how do governmental services get paid for? Your states are inestimably valuable
and properly administered, they contain vast material assets that can be utilized to generate
income more than sufficient to pay for all governmental services---and this is in fact what all the
states do. They already generate more than enough income every year to pay for all
governmental services, They simply keep track of their expenses and provide a “billing
statement” addressed to your ESTATE in hopes that you will step forward and “volunteer’-----
to pay a share of the expenses for them, so that their private, for-profit corporation is enabled to
operate without any expense and seize the entire profit from the sale and utilization and
investment of your organic state’s assets entirely for its own benefit.

If by chance your ESTATE fails to voluntarily cough up its share this year, they will
conveniently forget all the other labor and currency and value you have contributed in prior years
and also fail to mention all the money they made this year off of the “state” assets you are
supposed to be the beneficiary of. Alaskans should at this point take a moment to estimate their
actual share of revenue collected from the oil industry this year, versus the pittance offered as a
“Permanent Fund Dividend”. Now they should calculate their actual share of the Permanent
Fund Dividend as shareholders. And they should, if they are rational beings, be very, very upset
with those claiming to “represent” them and their interests.

After all, those who claim to “represent” you have taken seats as the officers of this same
foreign franchise for-profit “STATE” corporation and they see it as their duty to make sure that
corporation is as profitable as possible----so they justify attacking you, their employer, and
seizing your assets and telling you what to do and how to do it and when and how often----all in

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the name of somehow ultimately benefiting you via entrapment, enslavement, armed extortion,
and fraud.

Every unit of “government” in America is not only in control of and profiting from the
use and misuse of vast “public” assets, they are rolling in the money and credit they have
extorted from the actual beneficiaries of the public trusts, then rolling some more in the money
and credit they have made from investing ail this purloined largesse, and proliferating new and
ever-more numerous units of government and government agencies ----like a cancerous growth
soaking up the sugars of the Body Politic.

Every year the corporations running your federal, state, and municipal “government”
make so much more money than they expend on public services that the idea that taxation of
individual living men and women and their private property assets is “necessary” to fund public
services is laughable. Exactly how these criminally mismanaged corporations hide the loot so
that they can continue to “poor mouth” and impose more taxation will be addressed in answer to
other questions.

8. Why are the courts at fault?

In 1938 following a Supreme Court case known as Erie Railroad v. Thompkins
executives from the Roosevelt Administration called a meeting with the US Supreme Court
Justices, Senior Judges from all the Circuit and Appellate Courts, and the most prominent
lawyers of the times, and they told them a purposeful and self-interested lie. They said that the
United States of America was bankrupt---they just neglected to say which “United States of
America” and what form of “United States of America” they were talking about. They also told
the legal professionals that because of this bankruptcy, they were to operate their courts ONLY
in maritime jurisdictions. Verbatim: “We don’t care what you call it, but you can only run
maritime and admiralty courts.”

From that time to this, that is what the members of the American Bar Association have
done. They have run a fantastic gamut of “courts” pretending to operate as “state courts” and
“custody courts” and “US DISTRICT COURTS” and “Superior Courts” and on and on----and
pretended to operate courts at equity and under civil law, but the entire time they have operated
exclusively as maritime courts and as in-house corporate tribunals.

The courts are at fault because they know they are routinely operating in
jurisdictions that have nothing to do with the cases before them. They are at fault because
they know they are operating in maritime jurisdictions and pretending otherwise. They are at
fault because they have accepted unilateral contracts as “valid” maritime contracts. They are at
fault because they do not require proof of any valid maritime jurisdiction, even when called on
the carpet for failure to do so. The list goes on.
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Why have the courts malfunctioned in this way and continued on this course for almost
eighty years? Part of it is ignorance. A great many American jurists have grown up under
these conditions and they don’t know that anything different ever existed. Many don’t know
that “statutory law” is maritime law and if the judges and lawyers don’t know, who does? Some
don’t even know that “statutory law” applies uniquely to statutory entities----legal fictions
created by statute.

The rest of the reason is pure graft and corruption for profit on the part of those who do
know what is going on.

“Federal” judges have issued standing orders to “invest” all court cases through the Court
Registry Investment System (CRIS) ----that is, to “deposit” them as securities into the Federal
Reserve Bank in Dallas, Texas.

Every such court case is assigned a US Treasury Public Debt Number --- a Docket
Number in “State” courts and a Case Number in “US DISTRICT COURTS”. This makes
every court case a financial transaction and “securitizes” it.

After the Public Debt Number is issued, which converts the court case into a counterfeit
obligation under 18 USC 472, et seq. 473, 474, the Court Administrator again counterfeits the
same debt obligation by adding a CUSIP number to the “Instrument”. One counterfeit
obligation benefits the Federal Reserve, the second one benefits the IMF.

CUSIP is an acronym for Committee on Uniform Securities Identification Procedures,
and a copyrighted and registered trademark of The American Bankers Association. The court
administrators work for the banks, not any “court system” unless you want to call it the Bank
Court, where the bank always wins.

At this point in the fraud, the “court administrator” working for the banks has converted
every court case into a banking financial securities instrument----which puts the court itself into
the position of being “creditor” and BOTH the plaintiff and the defendant are cast into the role of
“debtors”.

The judges are acting with a vested interest with insider knowledge and they are
insider trading in complete and utter violation of the judicial canons.

They cannot act without bias when the quantity and quality of their salaries, benefits, and
retirement packages are sitting in the docket every day awaiting their “investment”. Rather
than ruling on the merits, arguments, or even the facts, they are making financial investments in
every case---futures contracts, in a future they can direct.

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They are running a rigged gambling operation out of the courthouse, under the
noses of the Alaska State Troopers, the FBI, and the US Marshals, who all turn to these
icons of rectitude for “legal” advice instead of using their own noses and common sense to
determine what is lawful.

The judges and court administrators are also committing tax fraud by shifting the “debt”
created by every case onto the individual(s) who are actually the Creditor(s) in every case, and
converting the case into an investment security belonging to the Dallas Federal Reserve Bank
instead, which in turn shifts the money from the Creditor side of the “transaction” into the
pockets of the Debtors. They are deceptively laundering a fraudulent debt into corporate
assets belonging to the bank, and converting those assets into revenue sharing funneled
back to the Department of Transportation (Federal Reserve) or DEPARTMENT OF
TRANSPORTATION (IMF) franchises, respectively.

So in addition to running a rigged gambling operation out of the courthouses, the courts
are also laundering vast amounts of fraudulently procured credit assets back into the operations
side of the two colluding Trust Management Organizations. A whopping percentage of the total
take from all this securities fraud goes into the judge’s retirement fund also administered by the
Dallas Federal Reserve Bank.

It is self-explanatory why the courts and their administrators are at fault for this entire
situation, that it is outrageous and not to be tolerated, and also why it must come to a halt and be
brought to a halt by those responsible for administration of these entities. Any jurist who values
his or her “law license” issued by an international banking cartel being operated as a criminal
syndicate more than he or she values the law deserves to be disbarred----and will be.

9. In one of the demonstration cases you repeatedly made a great issue of whether or not
the Judge was acting as a trustee or not, and at one point even offered to appoint him
directly as your trustee. Why?

I did this to determine and place on the record which “hat” he was wearing. According to
Section 3 of Article XIV of the Constitution of the United States of America---- the Federal
Reserve corporation dba United States of America, Inc. By-Laws ----all public employees are
trustees.

The question of trusteeship is vital. Public employees under both “The Constituton for
the united States of America” and “the Constitution of the United States of America” and all the
related subsidiary “State Constitutions” are openly declared and required to act as trustees and to
protect the respective National Trusts. It has been the erroneous practice of the UNITED
STATES, INC. and its STATE franchises to forget about its obligations in this respect, and to
concentrate entirely on the juicy federal services contracts it inherited during the bankruptcy
reorganization of the United States of America, Inc.
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The “Constitution of the United States” (yet another separate Constitution) under which
the UNITED STATES, INC. was organized has no mention of trusteeship, but that doesn’t mean
the fiduciary obligations vanished simply because a successor Trust Management Organization
has tried to ignore them. It only means that judges who don’t admit to being trustees are
admittedly operating in the foreign international jurisdiction of the IMF organization.

This was already implied by the title block style of the header on the case, but settling the
Trustee matter forced the JUDGE to give up any pretension of in personam jurisdiction and to
reveal the actual venue of the proceedings, which he otherwise attempted to obscure.

Throughout that case the JUDGE took an active litigant’s stance and practiced law—
liberally---from the bench, flagrantly acting in support of the bank’s attorney. Several times
during the proceedings the Judge was observed smiling, winking, and nodding to her. Although
we entered Special Appearance throughout and demanded proof of jurisdiction from the outset---
and even though the bank’s attorney is required to prove jurisdiction beyond reasonable doubt by
canon of law---she made no attempt to do so beyond a naked verbal assertion that the ESTATES
“resided in Alaska”---which has no meaning in a verbal context, because it is impossible to
determine which version of “Alaska” is being referenced.

During the first Hearing, the JUDGE deliberately obscured the venue and jurisdiction of
the court, claiming that his authority derived from “the de jure Constitution of the State of
Alaska”----a document that doesn’t exist and which would obligate him to act as our trustee if
it did. Soon after making this claim, the JUDGE made an excuse to leave the courtroom and
formally change the jurisdiction of the proceedings under the pretense of getting copies of a
document for us. This only served to move the in-house corporate tribunal to Special Admiralty.
Nobody operating under judicial canon would engage in such deceitful behavior, nor would
anyone operating an honest court have reason to engage in such arcane procedure.

By process of elimination, it stands that THE SUPERIOR DISTRICT COURT FOR
THE STATE OF ALASKA, INC. was operating an agency-based “federal” debt collection
procedure process against privately owned and operated international inter vivos trusts
under the presumption that they were instead ESTATE franchises of the UNITED
STATES, INC. operated in arrears by federal employees. This was all set up and maintained
in the face of open and un-rebutted objection, without jurisdiction, in the absence of any
validated claim or authority whatsoever to address us, the living principals, beneficiaries of the
ESTATES, and Priority Creditors.

Part of the corruption of the courts is that they do not openly, freely, and honestly reveal
the jurisdiction they are operating in at any given time, and do not discuss the presumptions---
often far-fetched presumptions---they are operating under. In the demonstration case 3AN-12-

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6858CI the JUDGE claimed to be operating the court under the administrative auspices of the
United States of America (Minor)’s local franchise, the State of Alaska, then used a subterfuge to
change that declared jurisdiction to international maritime jurisdiction without disclosure. This
sort of “bait and switch” artifice is inherently fraudulent and leads inevitably to self-interested
and purposeful confusion at law.

10. Who are you? How do you know ali this?

Our families have struggled with the administration of the Holy Roman Empire—and the
Global Estate Trust---- in all its guises, for over a thousand years. There is no lie that a banker
can utter that we haven’t heard a dozen times before. There is no scam that a con artist can
conceive that we haven’t already dealt with.

Now, it’s your turn.

We are tired of reading the entire Hst of Primary Source Documents and reference books
included for your interest, plus hundreds more arcane documents detailing the attempts of Popes
and Kings and Presidents and Congresses to do things both wonderful and horrible. This
particular responsibility means becoming a lawyer whether you like law or not, becoming a
banker whether you can stomach banking or not, becoming a historian even if history makes you
gag, and becoming both a researcher and a journalist, because you have to keep up with the ever-
changing game board that is the globe rotating under your feet.

It means either being a wolf or a shepherd, because you cannot be a sheep after such an
education. Francis is the last Pope we shall serve. We’ve been Good Shepherds for the innocent
and helpless people of the world, but we might have been predators just as well. This is a matter
of individual choice, and it bears consequences no matter what you do.

For those who have a conscience and who prefer to sleep at night and to look at
themselves in mitrors without wincing, being a Good Shepherd works best. For the one in 25
among us who couldn’t care less who they hurt, how much, or for what venal reasons, being a
predator may be the only option, because such animals (and you know who you are) see
innocence as ignorance, see weakness as opportunity, see goodness of any kind as an excuse for
contempt, and purity of any sort as an excuse to despoil it.

Just be aware--- there are 24 shepherds to every wolf and 390 million increasingly
disgusted Americans poised to take out the entire Puerto Rican Navy.

11. Why did you include Pat Dougherty, the Managing Editor of The Anchorage Daily
News, to receive a FINAL NOTICE? He’s not a politician or a public employee or a
banker or a judge, so it doesn’t appear to make sense?

Go to The Anchorage Daily News archives and look at the first ad in the Legal Notices
Section of the October 1, 2013 edition under high magnification. Write down the words that you
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actually see are printed there and compare them to the words that appear to be printed on that
page when you are reading this ad without the aid of a strong magnifying glass.

We believe that it will be self-explanatory, and if it isn’t, we have many actual copies of
all the publications of this specific Notice archived around the world for your inspection. The
actual copies published as part of The Anchorage Daily News on that date show a very peculiar
thing: the words that appear to be on the page aren’t actually there. At high magnification, it
becomes apparent that an entirely different and diabolical message is embedded in the page.
This is another fraudulent use of microprint to void the actual lawful notice, similar to the use of
microprint on “personal” checks, replacing what appears to be merely a line for your signature
with a line of microprint that designates your signature as an “authorizing” signature, not an
issuing signature----which changes your presumed status from that of a beneficiary to that of an
employee.

That ad and two similar prior ads were placed in the paper in behalf of the People of
Alaska, as Legal Notice to the politicians, judges, bankers, corporate officers, social planners and
others scheming to injure and defraud their neighbors in the upcoming game of national
bankruptcy. The ad ran three times, and each time, the print staff at The Anchorage Daily News
corrupted it in such a way that the perpetrators of all this fraud can technically claim that the
clearly intended Public Notice was never delivered, and that instead, the underlying distorted and
diabolical message was published instead. After all, they will argue among themselves and slap
each other on the back for such cleverness----the Sheep will never catch on, and it’s the ink on
the page that counts, not the ink that seems to be on the page.

Or is it? We, the Shepherds, have something to say about that----and it is merely this:
fraud vitiates everything. The intent to publish and the act of publishing the Notice stands as
originally written and delivered by the Post Office.

Pat Dougherty has a commercial responsibility to provide his advertisers with good faith
service, especially those who place ads in the Legal Notices section of the newspaper. By
allowing distortion of the actual content of Legal Notices via the use of puerile optical illusions,
he does great disservice to everyone involved and he assists in preserving the ongoing
criminality instead of pulling an oar to straighten it out. It’s true that those responsible for all
this corruption and graft have lied to the members of the Fourth Estate just as they have lied to
everyone else, but an editor bears responsibility for what appears —or fails to appear—in the
Legal Notices.

That’s why Pat Dougherty got a NOTICE of default. The Anchorage Daily News
charged for a legal notice that was never actually published. This is certainly commercial
default, and as he is responsible for what goes on in the press room, administrative default with

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respect to public obligations and functions that the newspaper holds under contract as the agency
responsible for publication of Legal Notices in Alaska.

12. I am confused with all these names that are so similar meaning different things. Can
you explain in a simple way?

The American Republic = the united States of America = usa = The United States of
America (Major) = 50 States joined in perpetual Union by the Articles of Confederation,
extended via the Northwest Ordinance and the Equal Footing Doctrine = organic geographically
described states = living inhabitants = American Nationals = john-quincy:doe or “John Quincy of
the Family Doe” names of living people = heirs, beneficiaries, entitlement holders, and priority
creditors = private sector = Law of the Land = The Constitution for the united States of America
= The United States of America in Congress Assembled = congress of the United States of
America = unincorporated Trust Management Company doing business as The United States =
Body Politic = senate = house of representatives = civil government = full commercial liability =
sovereign nation = American Nationals = Natural and Unalienable rights = U.S. Trust =
American Common Law = U.S. dollar = Public Laws = Full Enactment Clauses = State
Governors as in “Alaska State Governor”.

The United States of America (Minor) = USA = Municipal (city state) government of
the District of Columbia plus federal possessions and territories and enclaves = Seven Insular
States = incorporated legal fiction entity dba “the United States of America, Inc.” chartered in
Delaware = corporate privileges = By Laws published as “the Constitution of the United States
of America” = US citizens = US Trust = “union of American states” allowed by Insular Tariff
cases = US Congress operating as an oligarchy = Senate = House of Representatives = statutory
(maritime) law aka “special admiralty” = Trust Management Organization doing business as “the
United States of America, Inc.” = jurisdiction of the high seas and navigable inland waters =
operates as a commercial entity, not a Body Politic, not a sovereign nation = Civil Rights held as
privileges bestowed by or taken away by US Congress = Federal Code = limited liability =
private corporation operating franchises and providing services through agencies under contract
= claims to “stand for” the Republic = Public Policy = “Acts” of Congress without Enactment
Clauses = public franchises organized as foreign situs trusts doing business under the Names of
living Americans = Names using Upper and Lower case style conventions, e.g., John Quincy
Adams = US Dollar = vessels in commerce = Law of the Dead — Probate Law, Administrative
Law = State of state corporate municipal franchises as in “State of Ohio” = Governor of Ohio =
U.S. Department of the Treasury = U.S. Department of Commerce = U.S. Department of
Transportation.....etc., etc., etc.,

The UNITED STATES = regional subsidiary of the UNITED NATIONS dba “UNITED
STATES, INC.” = 57 American “states” = French commercial corporation = secondary
governmental services contractor operated by the International Monetary Fund, an agency of the
United Nations, an independent international city-state located in New York State = international
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commercial union = Puerto Rican Cestui Que Vie ESTATE trusts operated as franchises of the
UNITED STATES, INC. under the NAMES of living Americans = JOHN QUINCY ADAMS =
international law = Law of the Sea = Admiralty = US CITIZENS = US TRUST =
CONSTITUTION OF THE UNITED STATES = US DOLLAR = US DISTRICT COURT=
UNITED STATES SENATE =PRESIDENT OBAMA = UNITED STATES HOUSE OF
REPRESENTATIVES = UNITED STATES CONGRESS = ACTS OF CONGRESS = STATE
OF OHIO = GOVERNOR OF OHIO = US TREASURY DEPARTMENT = INTERNAL
REVENUE SERVICE...... etc, efc., etc.

Whenever you see names in all small letters or when you see entities physically
described, you are talking about the Republic and the real world of living people and private
property and valid contracts. All real assets of the nation are held in perpetual trust by the
Global Estate Trust. The trials and tribulations of individual Trust Management Organizations
are never supposed to affect any asset held in trust. Thus, the name “nelly-jo: blanchard” is the
name of a living female. So is “Nelly-Jo of the family Blanchard” a valid way to designate a
living female. A US dollar is a known weight of silver refined to a stated quality. The Georgia
State has known geographical borders. But, Nelly Jo Blanchard is a foreign situs trust created
and owned under conditions of deceit and non-disclosure by agencies of the State of Georgia, a
franchise of the United States of America, Incorporated, which is owned and operated as a
business by the Federal Reserve, Inc. which is incorporated in turn under the auspices of the
United States of America (Minor). In the same way, NELLY JO BLANCHARD is a foreign
(Puerto Rican) ESTATE Trust --- a Roman Inferior Trust--- created, owned, and operated under
conditions of deceit and non-disclosure by the International Monetary Fund (IMF) which is an
agency of the UNITED NATIONS, INC. operating under the auspices of the United Nations, an
independent, international city-state.

When you see names styled in Upper and Lower Case, you are talking about
incorporated entities known as “legal fiction entities” spawned by the United States of America
(Minor) or one of its corporate municipal franchises, such as the State of Alaska, which exist
only on paper, are subject to their charter, and enjoy certain immoral advantages in commerce.
Nelly Jo Blanchard is the Name of a foreign situs trust created by agents of the United States of
America, Incorporated, to function as a “commercial vessel” and to act as a surety for their own
corporate debts----without the knowledge or consent of the similarly named living American.
“Nelly Jo Blanchard” --- is a foreign situs trust claimed and owned as chattel by the Federal
Reserve Banks doing business as the United States of America, Incorporated. These entities
are in fact abusing the legal conventions which apply to naming corporate entities and
making a de facto false claim by using a small “t” in describing themselves as “the United
States of America” and doing so by claiming to represent BOTH the 50 states and the 7
insular states. This adds to the confusion as to who is who and what is what.

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When you see NAMES styled in all UPPER CASE letters, you are talking about
additional incorporated entities spawned by the UNITED STATES, a regional subsidiary of the
UNITED NATIONS, chartered in Puerto Rico, operated as franchises, agencies and subsidiaries,
functioning as secondary creditors in commerce and commercial vessels owned and operated by
the International Monetary Fund. “NELLY JO BLANCHARD” is a Roman Inferior Trust (also
known as a Cestui Que Vie Trust) operated out of Puerto Rico by the IMF doing business as the
UNITED STATES, INC. and all under the auspices of the UNITED NATIONS, INC. which is
in turn organized under the authority of the United Nations acting as a separate independent and
international city-state.

The next stage of this endless fraud is beginning now, with conversion of the IMF owned
and operated ESTATE trusts into transmitting utilities owned and operated by a new UN
subsidiary calling itself the FEDERAL RESERVE. This entity is creating yet another bunch of
legal fiction entities under names styled in this form: “JOHN Q. PUBLIC” and all named after
livmg Americans.

This entire con game is based on non-disclosure and semantic deceits and is a form of
sophisticated identity theft carried out via abuse of the rights of usufruct exercised by Trust
Management Organizations acting in Breach of Trust ---and all done by organizations which
owe the victims absolute fiduciary accountability.

13. Do you mean that when I get a tax notice from the IRS addressed to my NAME, it isn’t
actually addressed to me?

Precisely. It is addressed to a Puerto Rican ESTATE Trust and you are presumed to be a
federal official---specifically, a federal contracting officer known as a “Withholding Agent”
working for the government of the United States of America (Minor) who is responsible for
administering this ESTATE as a civil executor. Every time you sign a 1040 or a 1065 or other
federal tax document claiming to be a Withholding Agent, you obligate yourself to act as a “US
citizen” subject to every jot of Federal Code, including the 120,000-plus pages of gobbledygook
known as the Internal Revenue Code, plus whatever whims the US Congress may have next
week. Withholding Agents are responsible for collecting and withholding taxes on revenues
imported to Puerto Rico.

The perpetrators tax you for the privilege of donating your money to a Puerto Rican
ESTATE Trust operated under your name by the IMF---which you do every time you deposit
money in an account belonging to YOUR NAME IN CAPITAL LETTERS and thereby
“voluntarily” convert your own private property into corporate income and also accrue the
import tax due for importing revenue to a Puerto Rican Trust.

They operate a monopoly on legal tender such that you have no valid means to pay a
debt, then prevent you from discharging any debt --- which is the only remedy they provided
to justify their monopoly on legal tender ---and then they tax you for the privilege of donating
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the 1.0.U.’s they foisted off on you in the first place to a Puerto Rican ESTATE trust operated in
your name.

Next, if you let them get away with it, the new FEDERAL RESERVE will subtly
change the NAME on “your” ESTATE account, changing it to this form: JOHN Q.
PUBLIC, which is a transmitting utility — yet another legal fiction entity created out of thin
air-and operated under a “similar name” ----and they will happily make false claims of
debt and ownership against this entity, too.

All the gold that the United States of America, Incorporated, stole from your
grandparents in the 1930°s will now be used to issue a “new currency” backed with gold and
silver----gold and silver they seized under force of arms from your families to begin with and
never paid back--- and the new “US Treasury Notes”, like the “Federal Reserve Notes” will
still be mere 1.0.U.’s that further indebt you every time you use them to “pay” a debt.

i4. What is the bottom line of all this?

There is either a contract between the governmental service providers, or there is no
contract for services in play. If there is a contract, they have to abide by it. If there isn’t a
contract, nobody is obligated to pay the providers for any service provided, and in this case,
those providing the services additionally become recognizable as foreigners without any cause to
be on American soil, therefore subject to deportation and confiscation of their assets.

The only valid contract ever established between the American states and the Global
Estate Trust, is the Original Equity Contract known as The Constitution for the united States of
America. The purported changes made in 1871 and the “new” constitution published at that
time pertained only to the United States of America (Minor) and was never fully disclosed and
never properly ratified as anything wider ranging, with the result that all the changes made in
1913 and 1933 were never fully disclosed and never ratified by the states, either.

The documents known as “the Constitution of the United States of America” published in
187] and the more recent “Constitution of the United States” have no meaning outside the
narrow confines of the United States of America (Minor) and the incorporated entities that
created these documents. They hold no water in international commerce. They have no valid
basis as international treaties between the United States of America (Minor) and The United
States of America (Major).

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The only contract binding the American states to the Global Estate Trust remains
the over-200 year-old Constitution for the united States of America, and that is the contract
that must be performed upon if any contract exists at all.

It is “one way or the other’ from an international treaty and commercial contract
standpoint----either there is a contract that must be honored, or there is no contract and these
freebooters need to be removed from American shores and their false claims need to be
repudiated. This is precisely the viewpoint that the Pope is obligated to take as the Trustee
responsible for the administration of the Global Estate Trust as a whole, and it is the stand
he has taken.

In enforcing the original equity contract the Pope can call upon all the other members of
the Global Estate Trust ---over 200 countries----and he will have many willing supporters if he is
forced to take action against the present leadership of the United States of America (Minor) dba
PRESIDENT BARACK H. OBAMA and the US CONGRESS.

Both Russia and China have already pledged their support to impose economic and
military sanctions if the criminal banking cartels presently operating the American government
don’t back down and restore the commodity-based monetary system, agree to implement Basel
OI banking protocols, stop rigging the commodity markets, and take other steps ensuring global
security and prosperity.

It is in the best interests of everyone on earth outside a very narrow group of politicians,
bankers, lawyers, military officers, and corrupt churchmen to bring the present criminality to a
halt, so, one way or another, it will be done.

The Pope has no choice, and neither do you.

The bottom line can be summed up in one question to be answered---is there a contract or
not? If so, that contract must be honored. If not, the employees of the United States of America
(Minor) and the United Nations are out of a job and those who knowingly promoted the fraud are
to be prosecuted as criminals and deported.

15. What is the status of an American facing the present court system?

There are only two possibilities currently being entertained by the members of the
American Bar Association, as a result of the shakedown put in place by the Roosevelt
Administration eighty years ago following the Erie Railroad v. Thompkins case: (1) they are
addressing an in-house administrative corporate tribunal to provide information or make a claim
against the United States of America (Minor) or one of its municipal franchises or agencies per
the Administrative Procedures Act, or (2) they are facing a foreign maritime court and acting
under a burden of undisclosed false presumption----except in the very few cases where an actual
maritime issue and contract exists.
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Those are the only possibilities and the members of the American Bar Association
fight hard to ignore or weasel out of ever admitting that they are functioning in either

capacity.

There is no such thing under the current system as a State Statute. There isn’t a
single valid Enactment Clause anywhere to be seen in the volumes of “statute” published by the
“State of Alaska”, nor is there any power of enactment within the Administrative Code of the
STATE OF ALASKA.

Anyone properly trained in the practice of law has only to glance at these documents to
know they are private in-house publications. Unfortunately, two generations of American
lawyers have been purposefully left in ignorance as pernicious as that inflicted on the general
populace,

This ignerance better serves the purposes of the “Court Administrators” who are
employees of the same banks that have perpetuated the gross fraud and criminality engulfing the

monetary system, the banking system, the political system, and the government both state and
federal.

The perpetrators have gone so far as to openly and publically declare in the Foreign
Sovereign Immunity Act and the International Organizations Immunity Act that all state offices
have been relinquished to the UN and all state law has been released to international venues, so
even by their own admission, there is no opportunity to question these facts. It is all public
record,

All the administrative “law” practiced by the courts in America is Roman Civil Law
created under the auspices of the Roman Curia and transplanted as the law form chosen by the
international bankruptcy trustees to administer the bankruptcy of the United States of America,
Incorporated.

All the maritime law practiced by the STATE OF ALASKA courts is “Special
Admiralty”---a gobbledygook created and adopted to allow perverse presumptions of maritime
association and contract in civil cases involving foreign situs trusts created by the United States
of America (Minor) that are merely presumed to be sureties for the debts of the bankrupt Trust
Management Organization dba United States of America, Inc. ----and all washed down with
ample and outrageous probate fraud.

According to the perpetrators, the “vessel” they created, a foreign situs trust belonging to
the State of Alaska franchise of the bankrupt United States of America, Inc., went missing years
ago. John Quincy Adams hasn’t been heard from, or so they claim, so he has been presumed

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dead and his estate has been rolled over into a Puerto Rican ESTATE trust operating under the
name JOHN QUINCY ADAMS.

This is venal probate fraud of the worst sort, carried out systematically against an
unsuspecting and peaceful populace of civilian inhabitants of the land, people who are owed the
full protection of their International Trustees, the Pope and HRM Elizabeth Il, and the good faith
and service of their employees under commercial contract to provide governmental services.

All the admiralty law practiced by the US DISTRICT COURT is international Law
Merchant falsely transplanted without contract or consent, usurping upon the land and used
against the unwitting American people with devastating effect upon them and their fraudulently
constructed ESTATES in flagrant violation of the Treaties of Westminster.

There are at present ne formal courts in America serving living Americans at ail. The
only way a living American can appear is via Special Appearance--- a status akin to a ghost who
may be heard and seen, but without standing.

To address any court in America with standing, a living American has two choices: to
reclaim controlling interest in their ESTATE according to the ancient laws governing Roman
Inferior Trusts---which throws a mighty monkey wrench into a “court system” that is not
designed to ever deal with American civil executors, or, two, to create an American inter vivos
trust operating under a separate legal name which is competent to address commercial issues in a
public international venue.

Living Americans are owed the American Common Law, and as we’ve already seen, the
American Bar Association has acted under a fraudulent administrative order to operate only in
administrative and maritime (international) venues since 1938.

Without overturning this administrative protocol, the courts CANNOT function lawfully
in the vast majority of cases, so they don’t function lawfully. They function as described herein
as criminal ventures, rigged gambling syndicates, operating for-profit prisons that are
“guaranteed full occupancy by contract”, and so on.

16. If the federal government is just a private, for-profit Trust Management Organization
providing governmental services as a corporation with a lot of “STATE” franchises, like
Burger King, International---what does that mean for the “STATE” legislatures?

It means that they are committing major league constructive fraud. They have no
“legislative power” outside the private affairs of their own deceptively named corporation, no
valid claim to the American national trust assets, no valid claim upon the American states, no
controlling interest in the states and certainly no controlling interest in the private assets of the
American people. They cannot even claim to represent anyone but the small percentage of those
who bothered to vote, AND, who voted for them, individually ----- a matter which cannot be
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proven at ail with a secret ballot. All these people claiming to “represent” others can’t prove
that they represent anyone at all. At best they can round up a group of family and friends who
will swear that they voted for them in the most recent election.

Grandma Grace and Uncle Henry notwithstanding, with less than 30% of the populace
voting, there is no way for the most popular politicians in Juneau or Washington, DC, to claim
that they represent a majority controlling interest of any kind.

As a practical matter, every member of the current “US CONGRESS” and every member
of the STATE OF LEGISLATURE is operating as an international criminal
engaged in fraud and identity theft and they are impersonating American officials----whether
they know it or not.

The Alaska State operates under the Alaska Statehood Compact.

it is foreign with respect to the State of Alaska and also foreign with respect to the
STATE OF ALASKA. Those who are operating these private, for-profit corporations in
violation of their corporate charters and in violation of the public trust have cause to know that
they are NOT the government of the Alaska State and that they do NOT have any controlling
interest in Alaska State assets.

Note: it is the “Alaska State Capitol Building”, not the “State of Alaska Capitol
Building”. These interlopers are occupying public buildings and impersonating public officials
like a flock of starlings stealing the nests of better birds, and the fact that most of them--- like
most of their constituents--- are totally ignorant of this fact, does not alter it at all.

17. What can be done to correct this situation?

As a first step, the American Nationals can operate their own courts. They are not
obligated to depend upon BAR accredited attorneys for anything, and would do well not to hire
them except under very narrowly defined “limited” Power of Attorney to act as agents, not
representatives. The original equity contract includes the creation of a Grand Jury system which
is meant to operate as a Fourth Branch of government, serving to present charges against those
guilty of crimes and misdemeanors against the living inhabitants of the 50 states. Qualified
Grand Jurors volunteer to serve as part of a statewide or county jury pool and may investigate
any allegation of criminal or civil wrong-doing which comes to their attention. Following due
process, they are enabled to present either indictments (against US citizens) or present charges
(against American Nationals).

As for trial juries, they may be convened by any elected county sheriff or by a U.S.
marshal (note the small “‘m”) or elected county judge---who does not have to be a member of the

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Bar Association. The U.S. marshals are under contract to protect the U.S. Mail and are the oniy
“federal” law enforcement officers commissioned to act as constitutional officers. They have
free egress on the land of the 50 states United when engaged in the performance of their duties.
All other similarly named offices operated as “US Marshals” or “US MARSHALS” are private
and non-constitutional agency positions that enjoy no special status or granted access on the land
of the 50 states United, similar to NSA, BATF, IRS, FBI, and DEA officers. In a few remaining
locations, notably in Alaska, there are as yet no fully functioning counties and the U.S. marshals,
Provost marshals, civil postmasters and notary publics serve as the constitutional officers.

All US Marshals and US MARSHALS can be “invoked” to occupy the constitutional
office of U.S. marshal by explicitly addressing them in this capacity and requesting them to
function in that office. A similar situation exists when requesting service from a notary public,
postmaster, or provost marshal. The same individual can be called upon to function in both
public and private offices, and are required to do so, though they are seldom fully advised or
trained in their responsibilities as constitutional officers.

American Nationals can also demand that all persons elected to public office fill those
offices immediately, under oath, in unincorporated capacity, and function in that capacity
exclusively for the duration of their term in office. This requires them to accept full commercial
liability for their actions and to function with full fiduciary obligation to the people of the state.
They can then no longer play the game of “Which hat am I wearing now?” and function in
conflict of interest, plundering the assets of the organic state and the living people for private
banking and other corporate interests while claiming to “represent” those same states and people.

Americans can also operate their unincorporated state legislatures to enforce and update
the actual Constitution for the united States of America by a process of ratified amendment
undertaken by properly informed and seated unincorporated state legislatures and a national
referendum of the unincerporated Body Politic composed of living people---bearing in mind
that this document has not been altered since December of 1865----or, we can negotiate a
totally new contract with the Global Estate Trust, but given the present state of general
ignorance, that would hardly be advised.

Those who are nominally occupying public office need to act with propriety for now and
limit their actions to those appropriate for employees of the Alaska State and the Alaskan
People. Those who are members of the Alaska Bar Association need to demand immediate,
drastic, and unequivocal administrative change----or tear up their BAR Cards and start their own
club operating real American Courts under real American Common Law.

18. This whole situation makes me feel terrified and out of control. Why are you so cool
and calm?
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The Pope is determined to do the right thing and he is doing it, despite wild accusations,
despite false claims, despite a very vile propaganda campaign launched against him personally
and against the Roman Catholic Church by globalist bank operatives. With more than a billion
members worldwide, the Church is one of the largest Body Politics on earth and its membership
cuts across all racial and national boundaries. There are also more than two billion people with a
direct interest in correcting this situation, including the entire combined populations of North and
South America, Canada, Australia, Japan, and most of Europe. The Americans aren’t in this
stew pot alone. What happens to us happens to everyone else caught in the same system. That
includes the perpetrators and their home bases--globally. The reckoning is coming too fast for
them to move their operations far enough. The globe has become too small.

Under international law, however, Americans are unique in that the entire civil
government is vested in each and every living man and woman born on American soil.
Americans, quite literally, are sovereigns on the land. The lowliest file clerk in America has
more civil authority than the entire federal government, so there is no lack of civil government in
America and never has been.

Any claim that the civil government has not operated since 1865 due to the fact that a
properly seated and functioning congress has not acted since then is immediately rendered null
and void by the simple fact that sovereigns upon the land are not obligated to convene a
congress or any other legislative body. We can do what we like, but we must now recognize
that our own failure to operate our own civil government has created a vacuum of power that
unscrupulous men have sought to take advantage of. The counties, the basic building blocks of
the American civil government, must be rebuilt and redirected to function properly at a
grassroots level. Usurpation onto the land by “boroughs” and “municipalities” existing under
“federal” charters---that is, under the auspices of the United States of America (Minor) or the
United Nations City State---which are foreign nations creating unauthorized settlements on
our land--- must be stopped and the existing charters of municipalities like DETROIT must be
voided as criminal personage carried out by foreign powers against the state of Michigan and its
people.

Some individual states have given these freebooters asylum, including the states of
Virginia, Maryland, Delaware, and New York. By so doing, they have allowed foreign nations
to take root and operate on our shores to the detriment of all Americans. The states of Delaware,
Maryland, and Missouri have all knowingly allowed the proliferation of foreign corporations
using names overtly designed to mimmick and be confused with The United States of America
(Major), other states, federal and state agencies, and a plethora of other entities. In so doing,
they have helped promote and promulgate this entire fraud scheme. Their state legislatures are
culpable and answerable to the other states with which they are joined in perpetual union.

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Americans are blessed in that they have been taught the Great Laws of the Bible. They
know the essence of justice, so they are competent to self-govern. The premise of American
Common Law is simple enough for a child to understand: de no harm, and when and if you do
harm someone, make up for it. American Common Law is also simple in this respect--- if
there’s no real, actual victim, either a dead body or a living man, there is no crime.

There are no victimless crimes under American Common Law, and the lack of a real,
living injured party bringing complaint is the absolute, drop-dead proof that the entire court
system is being purposefully and self-interestedly mis-administered in foreign jurisdictions
generally having nothing whatsoever to do with American Nationals or their property interests.

All American Nationals being improperly addressed by one of these foreign admiralty
courts should ask five questions: (1) Where is the alleged maritime contract? (There isn’t even
a whiff of sea air in 99.9% of all the cases before these courts, and they have no jurisdiction
extending more than a mile inland.) (2) Who or what is being addressed as the DEFENDANT?
(Nail them down---Is this a trust? It can’t be a living man because the name is in all capital
letters. So....is the DEFENDANT a transmitting utility? A cooperative? Who is it owned by? )
(3) Is this court a constitutional entity, and if so, is it organized under Article 3 or Article 5?
(Neither, but it has to be under one of the two, if it is an American Court. Most “JUDGES” will
vacate at this point.) (4) Where is and what or who is the Injured Party named as PLAINTIFF?
(Again, it’s not a living man or woman, so what is it? Who owns it? Who is responsible for it?)
and (5) What jurisdiction or authority does this court or its officers have to address fraudulent
claims to my attention? (If the documents were mailed, they committed mail fraud. If they were
hand delivered, they trespassed on private property.)

The over 80 million regulations and statutes and codes that the incorporated Trust
Management Organizations have created for themselves and their employees and their “citizens”
don’t apply to Americans. So under what authority do these cretins continue to assert that they
do?

As for the claim that is sometimes made that Americans fell under the “exclusive
legislative’ control of the United States of America (Minor) via its establishment of “state”
franchises, it is clear that all it accomplished was attempted identity theft. The same goes for any
claim made by the United Nations. It is also clear that all claims of “war powers” and “national
emergency” apply only to the United States of America (Minor) and that no such powers and
emergencies have ever existed within or been declared by The United States of America (Major).

The bankers at the bottom of all this criminality can, potentially, cause destruction and
havoc, but in the end they will lose along with everyone else if they do, and let’s face it, they
have more to lose. Even the arms dealers and Mafiosi and drug lords can ill-afford to lose their
American Hemisphere real estate and American investments and American bases of operation.
The bad guys are in a position where they can only shoot themselves in the foot.
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They either allow an orderly return to American self-government under American law
and an American Dollar that is a real dollar, or they can try to find a nice new home in Iran or a
similarly non-aligned nation. Their flight to “UN protection” will not ultimately help them, and
that has already been decided by the Pope and the Global Estate Trustees.

As for any claims based on a theoretical military coup and attempts to define the presence
of the US Army on American soil as a “foreign occupation” by the United States of America
(Minor), there are numerous reasons why such claims do not stand up in the international
community. First, then-President Andrew Jackson made three public declarations officially
ending the Civil War. Second, even if it is under the direction of the President of the United
States when it comes to defending The United States of America (Major), the US Army is paid
for its services and under contract. Any action undertaken by the US Army against American
Nationals on the land of the 50 states United would be a blatant commercial crime, and the
United Nations could ill afford a reputation for allowing, aiding, or abetting that.

Finally, the perpetrators of this scheme are well aware that in some senses “Hell” is very
real. The Pope’s recent admonishment of the Italian Mafiosi is not devoid of meaning for them,
and the messages going out worldwide to the administrators of the Crown Temple have similar
content-specific meaning for the recipients.

So, all things taken together, that’s why we are so cool and calm---as stated in the FINAL
NOTICE all these issues, claims, and considerations have already been deliberated upon and
decided at the very highest levels of international governance.

19, All these “legislatures” and public officials have been using public resources and
buildings and everything else to benefit their own private for-profit corporations for
DECADES----for example, they’ve sold off billions of dollars worth of Alaska’s oil for
pennies on the dollar to their cronies in the oil companies, siphoned off billions into slush
funds they haven’t accounted for, all by impersonating American public officials and
merely asserting a controlling interest in the assets of the organic states...... that’s what
you’re telling me?

Yes.

In 1946 the “federal government”----which you now know is simply a private, for profit,
mostly foreign-owned corporation under contract to provide governmental services---adopted a
crooked bookkeeping system and the “US CONGRESS” gratuitously declared it to be legal for
the government, even though it was recognized as being illegal for everyone else.

They basically borrowed the “double entry bookkeeping system” from Fast Eddie
O’Hara, who was Al Capone’s bookkeeper. The IRS learned it from Eddie when they

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prosecuted Capone back in the 1920’s. Getting rid of this system has been the principle driving
force behind all the Basel I, II, and II banking reforms.

The essence of the crooked government accounting is in keeping two sets of books, use
of undisclosed “off book” escrow accounts, undeclared income accounts, and “future time
encumbrances”. They have also failed to transparently report their “public investments” to the
public:

To use an example from Alaska--- the STATE OF ALASKA splits its income streams
into “budgeted” and “non-budgeted” income. The GOVERNOR decides how much he wants to
give out as a budget and the LEGISLATURE argues over this little bone and keeps the crowds
entertained for the rest of the session. This sideshow keeps attention focused only on the
budgeted amount. Meanwhile, the far greater share of the income and investment is being
“passed through” to investment accounts and escrow accounts and subsidiary accounts belonging
to technically separate agencies.

Once a year the STATE OF ALASKA produces a financial report called the
COMPREHENSIVE ANNUAL FINANCIAL REPORT --- the CAFR. This is far from a true
“comprehensive” financial report, in that it passes off responsibility for including the detailed
data from all the ANNUAL FINANCIAL REPORTS of entities like the ALASKA MENTAL
HEALTH TRUST and the ALASKA HOUSING FINANCE CORPORATION and_ the
UNIVERSITY OF ALASKA and so on, but it does reveal some very startling things and it
provides the basis to dig out the truth about STATE OF ALASKA finances.

The last time this sort of analysis was done was in the 1990’s and it was only a “big
strokes” research project. It did not get down to the fine detail level, nor did it exhaustively
investigate myriad subsidiary ANNUAL FINANCIAL REPORTS, only the three largest ones at
that time. The STATE OF ALASKA had over $3 trillion dollars in unreported “non-budgeted”
income, interest, investments from prior years, other investment income, program fees, and
monetized assets standing on the books. Only the COMMISSIONER OF REVENUE,
LINDSEY GOLDBERG, THE GOVERNOR’S OFFICE, and senior bureaucrats at
LEGISLATIVE BUDGET AND AUDIT would have an accurate guess how much it has ratted
away now.

This is typical of the way these corporations work. They keep people distracted by
focusing public attention on the pennies in one pocket while they are stealing the gold bars from
the other pocket.

As an example of the corporate conflict of interest----the leadership of the “STATE OF
ALASKA LEGISLATURE” and various other corporate players have been happily colluding to
squeeze-play the Alaskan people out of the benefit of their natural gas resources. The STATE
OF ALASKA has long owned via investment a very large interest in ENSTAR NATURAL GAS
and has a vested interest in maintaining ENSTAR’s monopoly as the only viable gas supply
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utility in Alaska. So, as a self-interested private corporation, the STATE OF ALASKA is
determined to keep the price of natural gas and propane in Alaska unnaturally high, to help
maintain ENSTAR’S monopoly on in-state gas energy supplies, and to prevent any large scale
development of Alaska’s gas resources that would encourage competition for ENSTAR. It also
has a vested self-interest in wrangling pipeline construction contracts for ENSTAR.

This is an especially choice investment for the STATE OF ALASKA because public
utilities are regulated and thereby guaranteed a 12% above cost profit, no matter what the costs
of a project may be. All the cost in such a venture gets passed onto the consumers, and the
perpetrators get a 12% profit no matter what.

The STATE OF ALASKA corporate leadership is willing to consider a wildly expensive
small or medium diameter gas pipeline that guarantees extremely high consumer gas prices in
Alaska for decades to come---because that option (1) guarantees ENSTAR’s monopoly for
decades to come, (2) guarantees top prices for propane delivered in-state for decades to come,
and (3) guarantees a 12% above cost profit for ENSTAR---and the STATE OF ALASKA no
matter what the costs of construction are---for every mile of pipe the company lays.

This situation neatly demonstrates the conflict of interest which exists all across the board
when private for-profit corporations are allowed to assume a controlling interest in public assets.
They have a built-in and constant temptation to operate in favor of their own bottom line at the
expense of the organic states and the people they are obligated by fiduciary trust to serve.

This gas development plan to construct a small or medium diameter gas pipeline is
perfectly desirable from the standpoint of the STATE OF ALASKA’S bottom line, but it betrays
and victimizes the actual beneficiaries of the Alaska Trust, the ones who should be benefited first
and most of all by Alaska’s resources.

This calculated breach of public trust for private profit is on top of the theft of identity
and credit that has already been described, and it goes on in every STATE franchise, not just the
STATE OF ALASKA.

The take home message to members of the STATE OF ALASKA LEGISLATURE is that
the organization is already in gross violation of its charter, in violation of the public trust, acting
in breach of trust, engaging in felony fraud, acting with gross fiduciary malfeasance, and cannot
make up for the past. Billions upon billions of dollars have been stolen and wasted, misdirected,
poorly invested for petty, selfish reasons, and siphoned off by the STATE OF ALASKA.

A new dialogue must begin, and in the meantime, those occupying corporate offices need
to be very mindful of the limitations, temptations, and actual nature of their elected office within
a private corporation under contract to provide stipulated governmental services. They must also

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be aware that they have no valid controlling interest in the assets of the Alaska State and that
they have failed to perform according to the Alaska Statehood Compact, which potentially voids
all contract for all services and all contracts which the STATE OF ALASKA has or has entered
into since 1959,

As an example of the same phenomenon at the national level, the “US Congress” recently
passed the Dodd-Frank Act, gratuitously granting itself the right to confiscate money deposited
in bank accounts properly belonging to American Nationals. Unknown to those Americans, the
banks have secretively practiced unlawful conversion against them and what they think of as
their bank accounts have all been established instead in the name of Puerto Rican Estate Trusts
that are under the control of the United States of America (Minor). Poor old john-quincy:adams
has been “donating” all his credit accruals in the form of his checking and savings and demand
deposits and mortgage escrow holdings and everything else to benefit John Quincy Adams, and
that long-lost beneficiary’s Estate has been rolled over into an ESTATE trust doing business
under “his” NAME---- JOHN QUINCY ADAMS, which actually owns and controls all the bank
accounts.

Don’t worry if you get dizzy trying to follow all the semantic deceit. It’s all fraud, top to
bottom and front to back, null and void, unlawful, illegal, and criminal without excuse. The
point is that Senators Dodd and Frank thought it was perfectly all right to bilk the American
people out of their life savings and retirement accounts ----and they did this while overtly
claiming to “represent” the victims and their estates.

The men and women sitting as officers of both the United States of America, Inc. and the
UNITED STATES, INC. feel secure committing these and other hemous commercial crimes
against Americans, because technically, they are not Americans anymore. Once they took their
oath of office, they came under the protection of the United States of America (Minor) and the
United Nations and they claimed “immunity” for all their acts.

Unfortunately for them, fraud is a crime on an international basis, and any incorporated
entity, whether it purports itself to be a nation, a state, or the local D.Q. franchise, is subject to
dissolution for violation of its charter and for actions identifying it as a criminal syndicate.
Likewise, the officers of a criminal syndicate are readily exposed without the benefit of any
corporate veil or diplomatic immunity.

20. You have put your own private assets at risk to pursue justice and correction of all
these circumstances. You stated in the FINAL NOTICE that THE SUPERIOR COURT
FOR THE STATE OF ALASKA owes you “reparations” and damages in the amount of
$1,600,000.06 and that the STATE OF ALASKA stands subject to dissolution as a result.
Eiow is all this possible? Wasn’t the property foreclosed for not paying a commercial
mortgage?
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Fraud vitiates everything and it makes no difference who the fraudsters are, or, in this
case, who they pretend to be. There are no “courts” in America having any valid jurisdiction
over us Or Our private property, including the private trusts recorded as the actual owners of the
property in question.

The reparations result from damage done to us and our estate by the United States of
America (Minor) and its franchises operated as “States” and the damage claim further results
from the STATE OF ALASKA’s failure to monitor and control the operations of THE
SUPERIOR DISTRICT COURT FOR THE STATE OF ALASKA.

Technically, under the Law of the Sea, we could claim 800 times the loss as damages, but
that represents precisely the kind of cut-throat and unreasonable piracy we seek to end. The
actual material damage to our joint estate trust is currently and fairly estimated at $1,606,000.00
USD and that reasonable and limited amount is what we have claimed.

THE SUPERIOR COURT FOR THE STATE OF ALASKA is a private, for-profit, non-
governmental entity operated by the ALASKA COURT SYSTEM, INC. which is operated by
the FEDERAL RESERVE. As described earlier, the CLERK set up a docket number and penal
bonds and “deposited” the case as a security in the DALLAS FEDERAL RESERVE BANK.
JUDGE PAUL OLSON received the converted security making the COURT the creditor and
ruled in favor of---guess who? The COURT and the COURT’s employer, the FEDERAL
RESERVE. This is gross conflict of interest, unlawful conversion, insider trading, etc.----but it
is also fraud in name and deed.

Just as the United States of America (Minor) claims to stand for The United States of
America (Major), THE SUPERIOR DISTRICT COURT FOR THE STATE OF ALASKA is
deceptively named to imply that it operates under the auspices of the STATE OF ALASKA. It
does not, and the ATTORNEY GENERAL for the STATE OF ALASKA will very quickly
confirm this. THE SUPERIOR DISTRICT COURT FOR THE STATE OF ALASKA is a
private for-profit debt collection agency and the only thing the “for” in its name implies is that
Alaska is its geographically defined place of operations.

The STATE OF ALASKA’s failure is that it has not honored its obligation to protect the
assets of the national and state trusts. As a franchise of the UNITED STATES, INC. which
inherited the trust obligations along with the juicy service contracts that it has administered
throughout the bankruptcy reorganization of the United States of America, Inc., the STATE OF
ALASKA was a successor trustee.

The STATE OF ALASKA = bankruptcy trustee of the “State of Alaska” = trustee of the
Alaska State, and as any mathematician knows, equivalencies work both ways. Although the so-

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called “national bankruptcy” of the old Trust Management Organization has been settled as of
July 1, 2013, it was still ongoing at the time the demonstration cases were prosecuted, and no
matter how the ATTORNEY GENERAL tries to side-step the issue, both the redeemed ESTATE
trusts and the actual title holder, an American express inter vivos trust, were and are owed his
protection.

Our rights and private property assets are all part of the national trust and like assets held
in any trust, these assets are inviolate, not subject to claims that result from any bankruptcy of
trustees---and this is true now as it was in 1933 and in 1863 and from the moment the individual
organic states proclaimed their geographic boundaries as independent nation-states.

Seeking to convert our private property assets into foreign corporate assets by a process
of contractual entrapment, semantic deceit, and non-disclosure is fraud, as is the hypothecation
of corporate debt against our private property assets under similar conditions of deceit and non-
disclosure, as is creation of property titles under color of law, as is sale of property and transfer
of property titles without full disclosure, as is the use of off-book demand accounts in the
administration of mortgage agreements, as is usury, as is the use of unilateral contracts, as is the
use of I.0.U’s as legal tender.

The STATE OF ALASKA, INC. as the local franchise of the UNITED STATES, INC. is
responsible for safe-guarding our rights and those include our private property rights which have
been grossly, knowingly, and self-interestedly violated by THE SUPERIOR DISTRICT COURT
FOR THE STATE OF ALASKA, INC. which has acted without jurisdiction and without a valid
controlling interest against declared non-combatant civilian beneficiaries and Third Parties to
this entire circumstance.

The properties in question were recorded more than ten years ago with the Recorder’s
Office m the name of a single private internationally held imter vives trust dba “Anna M.
Riezinger-von Reitz and James C. Belcher’ which was properly established in original
jurisdiction many years ago to act as a viable American commercial vessel in international
commercial venues. Acting under duress and to clear the titles, we additionally and momentarily
donned the “Federal Contracting Officer” hat that is ours as remedy for the first round of fraud
and predation unleashed by FDR and in that capacity released all “federal” liens held against the
properties. By Public Policy of the United States of America, Inc. and by the Uniform
Commercial Code that binds the UNITED STATES and its STATE OF ALASKA franchise, all
mortgages financed by any bank operated under the auspices of any “federal” or “state”
corporation providing services to us, is subject to discharge favoring the beneficiaries of the
ESTATES. Those documents are also on file with the Alaska Recorder’s Office.

When we presented THE SUPERIOR DISTRICT COURT FOR THE STATE OF
ALASKA with copies of the Birth Certificates of the Puerto Rican ESTATE trusts doing
business as “ANNA MARIA RIEZINGER” and “JAMES CLINTON BELCHER?” and presented
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ourselves as the living beneficiaries of these trusts, which are Cestui Que Vie Trusts, two things
should have happened. First, the COURT should have inquired as to our identity in behalf of the
bankruptcy trustee and required that we produce competent witnesses and supporting
documentation —which in this case we provided in the form of an Ecclesiastical Deed Poll and
affidavit entitled “Statement of Identity” autographed by living witnesses. Second, the COURT
should have recognized that we are the lawful beneficiaries and equitable title holders of the
NAMED trusts asserting a controlling interest in their assets, and the COURT should have
relinquished its merely assumed position as creditor and arbiter.

When the true beneficiary of a Cestui Que Vie Trust appears in COURT ---if it is a real
“court” of any kind---it must collapse the trust in favor of the equitable title holder. Must. No
questions asked. THE SUPERIOR DISTRICT COURT FOR THE STATE OF ALASKA
failed to do this and it violated international law in the process.

it also revealed its nature as nothing but a glorified debt collection agency operating
under conditions of open fraud and collecting moreover from innocent Third Parties under
conditions of armed extortion.

The COURT’s Officer, the prosecuting attorney, Michelle Boutin, hired the
ALASKA STATE TROOPERS to act as mercenaries and enter our posted private
property under armed force and threaten to evict us from our home and thereby extorted
more than $100,000.00 from our private estate trust.

There is no practical difference between what the COURT did in our demonstration case
and Don Guido demanding protection money. It’s the same exact racket being carried out under
the noses of the ALASKA TROOPERS who were even co-opted into providing enforcement for
this, and the FBI which was notified and informed, and the U.S. marshals, who are under
contract with the Universal Postal Union to protect us and prevent the mail fraud that was used to
promote the COURT’s actions, and the STATE OF ALASKA, the local franchise of the
UNITED STATES, INC. which should have been busily protecting our interests as the known
Primary Creditors of the United States of America, Inc.

We couldn’t possibly owe the Federal Reserve more than the Federal Reserve already
owed us, and the STATE OF ALASKA knew that, claimed to be our local representative in the
US BANKRUPTCY proceedings----yet stood by, allowed this, and did nothing.

In a very real sense, we had already paid our protection money---to the STATE OF
ALASKA and the STATE OF ALASKA failed to perform, which resulted in this egregious harm
to us and our real property assets. Instead of honoring its contract, the STATE OF ALASKA (an

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IMF franchise) colluded with the ALASKA COURT SYSTEM (a FEDERAL RESERVE
franchise) to attack and bilk innocent civilian Third Parties.

To recap: Our individual estates were claimed by the United States of America, Inc.
under conditions of fraud and non-disclosure and via a process of identity theft and semantic
deceit, were entered as sureties in their corporate bankruptcy proceedings. Our estates were then
rolled into a Puerto Rican ESTATE trust operated under our NAMES by the US Bankruptcy
Trustee, the Secretary of the Treasury of Puerto Rico. When we presented Special Appearance
and redeemed the Birth Certificates issued to these ESTATES as Third Parties and produced
proof that we are the living beneficiaries of these ESTATE trusts, the COURT employed by the
FEDERAL RESERVE (we are their priority creditors) should have recognized our controlling
interest immediately and should have discharged all debts accrued in the interim by those merely
claiming to represent us.

The entire claim of the FEDERAL RESERVE operating THE SUPERIOR DISTRICT
COURT FOR THE STATE OF ALASKA against our trust property is, as you can see from all
the foregoing, based on a series of false claims and semantic deceits. After more than a hundred
years of fraud and false claims and layers of semantic deceits, it is virtually impossible to
determine who actually holds title to anything in America without recourse to the Law Merchant
(modern day Uniform Commercial Code) and Law of Adverse Possession.

In the international jurisdiction that all these incorporated entities operate in, possession
is nine-tenths of the law, and via our private internationally held infer vivos trust doing business
as “Anna M. Riezinger-von Reitz and James C. Belcher” — a separate unified legaily named and
copyrighted entity operated in original jurisdiction---- my husband and I have been in open,
notorious, and unopposed possession of the property described as Lots 11 and 12, Block 2, Birch
Park Subdivision in Big Lake, Alaska, for more than fen (10) years, and have undertaken all the
improvements thereon without exception. By adverse possession in international admiralty and
also according to “statute” adopted by the corporations responsible for attacking us and
published as their “law” ----the property and the assets are ours free and clear.

THE SUPERIOR DISTRICT COURT FOR THE STATE OF ALASKA and its Officer
Michelle Boutin failed to honor its own published “law” and continued its assault against us and
against our ESTATE property.

That we are separate, civilian, and Third Parties not owned as chattel by the United States
of America, Incorporated, not standing as sureties thereof, and not made debtors merely because
of fraud practiced upon us was clearly established by our actions presenting the ESTATE “Birth
Certificates” to THE SUPERIOR DISTRICT COURT FOR THE STATE OF ALASKA. The
Birth Certificates are monetized securities presented to the COURT for redemption by the actual
beneficiaries of these “ESTATES” and are proof that (1) the NAMES thereon are not the same
as the name of the trust that the property discussed in the foreclosure action is held under; (2)
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that the estates of the “decedants” listed were probated improperly and under false presumptions
resulting in the improper hypothecation of debt against the ESTATES; (3) that we, living
Americans, are the actual beneficiaries of these Puerto Rican ESTATE trusts, and that we are
the equitable title holders of all the ESTATE assets, including the monthly mortgage payments
that we paid in error and which are owed to us; (4) the ESTATES established and monetized “in
our names” are Roman Inferior Trusts----as beneficiaries reclaiming our controlling interest in
these ESTATES, we are owed return of all assets free and clear of debt hypothecated against our
assets by any and all secondary beneficiaries----including the United States of America, Inc.,
including the UNITED STATES, INC., including any and all debts of their franchises and
agencies and corporations organized under their auspices.

Attack upon our private trust dba “Anna M. Riezinger-von Reitz and James C. Belcher”
is an attack against the trust property interests of American civilians who are Third Parties being
harmed and defrauded as a result of improper trust administration and claims resulting from
constructive fraud practiced by the officers of the United States of America, Inc, and the forced
imposition of “Federal Reserve Notes” as legal tender under conditions of monopoly inducement
and in breach of trust and contract.

Under international law, including the international Law of the Sea, the action of THE
SUPERIOR DISTRICT COURT FOR THE STATE OF ALASKA and its officer, Michelle
Boutin, against our private trust and their pretended jurisdiction over our redeemed trust assets in
general, is both constructive fraud and a war crime for which the United States of America
(Minor) and the United Nations stand responsible.

To give the non-lawyers an insight into the situation:

The United States of America, Inc. acting in Breach of Trust and without granted
consent, created foreign situs trusts which it operated under our names styled in Upper and
Lower case letters: e.g., John Quincy Adams. This corporation and its officers who were under
contract to defend our national trust and provide governmental services to our organic states then
claimed that these foreign situs trusts were standing as “surety” for their own private corporate
debts---circumstantially implying that individual living Americans had voluntarily agreed to
stand good for the debts of the United States of America, Inc. and that they and their property
and the assets of their organic states were all valid collateral for the debts of the privately owned
and operated United States of America, Inc.

This was done without granted authority, without disclosure, and without consent
by officers of a privately owned and operated corporation merely under contract to
provide enumerated services to the victims.

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It was and is pure, self-interested fraud based on semantic deceits, and it was carried out
without disclosure as a “private” matter concerning only the United States of America,
Incorporated and its officers---not the clearly intended victims of the constructive fraud.

None of the corporate officers engaging in this activity and making these absurd claims
upon the actual employers of the United States of America, Inc. had any granted authority to
make these representations “in behalf’ of anyone, much less the people they were bound to
serve.

The United States of America, Inc. was entered into receivership. The Trustee of the
bankruptcy, the Secretary of the Treasury of Puerto Rico, promptly created new “public trusts”
under the NAMES of the individual living Americans, e.g., JOHN QUINCY ADAMS, within
the jurisdiction of the United States of America (Minor), and “removed” the original foreign
situs trusts together with their assets to Puerto Rican jurisdiction.

You and everything you own have (supposedly) come under the jurisdiction of Puerto
Rico and the United States of America (Minor). The problem with this is that it has all been
accomplished on the basis of non-disclosure and fraud and fraud vitiates---that is, utterly
destroys and negates--- everything it aims to accomplish.

So there is and can be no valid claim raised by any of these incorporated entities, nor by
their bill collectors, against you or your estate. As the FINAL NOTICE clearly stated, this fact
has already been determined and decided at the very highest levels of world governance and by
the Trustee of the Global Estate Trust, the Pope, who has demanded compliance from the United
States of America (Minor) and all its various corporate franchises and agencies---including the
State of Alaska and the STATE OF ALASKA and from the United Nations operating the
UNITED STATES and its franchise the STATE OF ALASKA and so on.

AH the fraud, all the false claims being made against American ESTATES, has to come
to an end.

What remains to be done, and what has been done in the demonstration cases, is to
redeem the individual ESTATES---that is, to reclaim and restore these ESTATES and their
assets to their natural beneficiaries, free and clear of all encumbrances created by fraud and by
mis-administration by incompetent or criminally inclined trustees.

The proof of everything said here is evident on the face of the Birth Certificates
provided by the various agencies responsible for administering this massive international
fraud.

The Birth Certificate documents are all securitized and monetized---bonded, in fact, and
issued on bond paper and traded on exchanges---in the NAME of Puerto Rican ESTATE trusts,
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as a result of probate proceedings and are clearly signed by Registrars----officers of the various
local probate courts. These ESTATES are all Roman Inferior Trusts.

What does this mean?

JOHN QUINCY ADAMS (insert your NAME) is an ESTATE trust whose actual
beneficiary is “presumed dead”,

You, the living man or woman, born as an American on the land of one of the organic
American states are the “missing” beneficiary, though you must hack through two layers of fraud
to establish the fact and kick the butt of the American Bar Association all the way to Puerto
Rico.

You, the living man or woman, are in precisely the same situation as Robinson
Crusoe returning home after being away for twenty years. Robinson’s estate has been
seized by the courts, probated, rolled over into a Roman Inferior Estate Trust---also known
as a Cestui Que Vie Trust---- and handed over to his butler. The butler has had a wild
time, charged up Robinson’s credit cards, mortgaged his estate, invested and spent his
money, drunk up the wine cellar, and caused the Crusoe name to fall into disrepute. Now,
at long last, Robinson has returned and presented irrefutable proof of his identity and his
status as a living man owed the return of his property free and clear of all the debts and
encumbrances placed upon it as a result of misadministration, fraud, and fiduciary
malfeasance on the part of his (former) butler. In addition, in this case, “Robinson” is
owed reparations from the court for failure to immediately return his property to his
control and void all claims established since the improper probate of his estate, and also
from the corporation administering the “government” for failure to impose oversight on
the probate court which colluded with the butler and gave the estate assets to the butler
instead of the rightful heirs.

That’s where you are now, if you are an American born on the land of one of the organic
states of the Union----and it is all the result of breach of trust, gross fiduciary malfeasance,
unlawful conversion, semantic deceit and non-disclosure---and other criminal activities
undertaken by two foreign corporations merely hired under commercial contract to protect you
and your assets and to provide nineteen enumerated governmental services. It has been further
exacerbated by ignorant and corrupt state legislators who have colluded with the erring federal
government officials.

The FEDERAL RESERVE operating as a “new” corporation formed under the auspices
of the United Nations (which is a separate international city-state), is pretending that it owns you
as a slave and owns your ESTATE assets, too. It is pretending that it, not we, have controlling

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interest in our ESTATE assets, and even though its claims are clearly rebutted and disproven as a
self-serving fiction, it is continuing to prosecute marine salvage liens under “Special Admiralty”
rules created by these perpetrators to expedite this fraud against Americans.

This unlawful prosecution is continuing even though we have presented the “certificates”
issued by the probate court to form our “ESTATES” under the false presumption of our death
and by presenting these to the COURT and properly identifying ourselves, we have in fact
“redeemed” our ESTATES and placed them back in their original jurisdiction and under our
private control.

We have objected to the fraud and to the strong-arm extortion that the FEDERAL
RESERVE and its agencies dba the ALASKA COURT SYSTEM, INC. and THE SUPERIOR
DISTRICT COURT FOR THE STATE OF ALASKA have engaged in against us, and we are
holding the STATE OF ALASKA as the local franchise of the UNITED STATES, INC. ---the
Trustee---responsible for failing to take action in our behalf and failure to exercise administrative
control over corporations that have been formed under UNITED STATES auspices and which
are operating in a criminal fashion against the peaceful inhabitants of the land.

There either is or is not a contract.

These corporations are operating in violation of their charters and are subject to
dissolution as criminal enterprises. We have demanded immediate correction and to date, they
have not self-corrected nor has the STATE OF ALASKA taken the necessary action as the local
franchise operator to impose correction. The GOVERNOR and ATTORNEY GENERAL are
culpable in the extreme for this circumstance and also responsible for the continuing false arrest
of Alaskans James L. Jensen, Jr. and Robin L. Jensen.

In their most recent and audacious move yet, THE SUPERIOR COURT FOR THE
STATE OF ALASKA, yet another “COURT” separate and distinct from “THE SUPERIOR
DISTRICT COURT FOR THE STATE OF ALASKA” has “ordered” the “execution sale” of
property and assets belonging to us that are net mortgaged and mot under any valid contract
whatsoever with any entity created by, belonging to, or administered by these charlatans or the
banks that operate them, properties which have already been formally released from any “federal
lien” whatsoever. They and their officer, Michelle Boutin, have advertised a “JUDICIAL
FORECLOSURE SALE” in the absence of any “judicial” power whatsoever.

Every member of the law enforcement agencies and the military commanders are on
Notice of this circumstance, from the Provost Marshals to the U.S.marshals Office, to the FBI to
the Alaska State Troopers. So is Interpol. And so is the Pope.

The same exact circumstances and conditions apply to the misadministration of the
ESTATES of 390 million Americans, and it must be resolved in their favor.
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Meanwhile it is important for everyone involved to understand that the “government” is
just another corporation under contract to provide specified services for hire, that this problem is
not limited to America, and that the real civil government resides in the individual living
Americans who have unlimited civil power on the land of the organic states.

All of the crimes, frauds, and failures described herein have taken place outside the
land jurisdiction of The United States of America and in “international waters” --- but it
hardly matters, because fraud is fraud upon the sea as upon the land, and fraud vitiates all
claims based upon it.

On May 28, 2014, officers of THE SUPERIOR COURT FOR THE STATE OF
ALASKA are advertising a “JUDICIAL FORECLOSURE SALE” of some of our redeemed
ESTATE property under the patently self-serving and continuing false presumption that we,
living Americans, and our redeemed ESTATES, are sureties for the debts of the United States of
America, Inc. and are responsible for the expenses of its BANKRUPTCY TRUSTEES, including
their expenses to prosecute our ESTATES under these false presumptions in the TRUSTEE’S
own private COURTS.

However, this fraud has been fully recognized by the Global Estate Trust.

We are the priority creditors of the bankrupt United States of America, Inc. We are their
employers and creditors, not the employees and not the debtors in this situation.

The men engaging in these acts of mis-administration are criminals who have worked a
complex, highly coercive, and multi-generational fraud scheme known as a “Reverse Trust
Scheme” against us, against every other American born on the land, and against many other
national governments as well.

If the international banks and the members of the BAR Associations do not come into
compliance with the actual law and respect the property rights of Americans, Canadians, and
others who have been impacted by similar “public trust” schemes, their corporations will be
dissolved and their professional associations will be outlawed. Individual bankers and lawyers
who have knowingly and willingly participated in this fraud will be branded as criminals, their
property will be confiscated, and they will be deported from The United States of America
(Major).

It’s really that simple and just a matter of time before everyone knows what has gone on
here, who did it, who is responsible for this deplorable criminality, and why. Those responsible
would do well to take immediate determined action to correct.

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21. Are the accompanying “Civil Orders” legitimate? Do I have to act upon them as an
elected, appointed, or commissioned officer?

Yes, you do. Remember that every living American born on the soil of one of the fifty
states United is literally an internationally recognized sovereign on the land of those states. In
administering our affairs and those of our organic states, our will is absolute. These Civil Orders
are issued under civil, commercial, and canon authority without representation. The
Constitution for the united States of America, the Treaty of Paris, the applicable Treaties of
Westminster, and the Treaty of Ghent, which establish and protect the national trust of The
United States of America (Major) and our individual estates must be honored.

American states operating in sovereign and original jurisdiction have issued these Civil
Orders commanding compliance from the (E)STATE trustees, administrators, and employees,
requiring their proper performance under contract. There is no higher authority.

To reduce it to practical terms---when you accept a job, are you obligated to perform your
duties? Wouldn’t you expect to be fired, if you didn’t? Are you obligated to obey your actual
employer, the owner of the company? Or do you think you will fare better obeying a middle-
manager who is giving you opposing orders and merely claiming to “represent” the boss? Do
you have to perform on your contracts?

We think it is obvious that you are obligated to obey your actual employers, not those
who merely claim to represent them. No amount of corruption, criminality, or fraud serves to
obscure the claim of Americans on American states and American private property.

This is both a public and a private matter, and has been made so by acts of fraud and
violence perpetuated by corporations acting in violation of their charters as criminal enterprises,
all of which have been operated in maritime and admiralty jurisdictions in breach of trust.

22. Are you telling me that changing from an unincorporated government to an incorporated
government is like an evil twin brother usurping an estate from a rightful heir?

Not quite. The United States of America (Major) has no twin, but it does have a tumor-
like foreign outgrowth which has turned parasitic and which is transgressing against the Body
Politic.

In commercial terms--- when people act as people they come together in free association
and act under full commercial liability. They are responsible and accountable for their debts and
deeds. When people form corporations to “represent” them or their interests in some capacity,
and bring these corporations together in association, what you get is a corporate conglomerate
that is not fully accountable for its debts and deeds because of the corporate veil. This “veil” is
the same veil that stands between life and death.
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incorporated “persons”’----which include commercial corporations, trusts, cooperatives,
trusts, and foundations--- are considered dead. They have no motive force of their own. They
are operated by third parties under charters granted by nations and states that have themselves all
been chartered by the Holy See. Such entities have a natural limited liability, because they are
not conscious. When such entities are formed, the intentions and purposes of their creators are
clearly stated and typically include a catch-all phrase--- “any other lawful purpose” ---to cover
additional unforeseen circumstances. All corporations are required to function lawfully and in
accord with their charters. Any violation of their charter, such as deviation from their stated
purpose or failure to perform it, any unlawful activity whatsoever, provides grounds to demand
dissolution of a corporate entity and distribution of its assets to its creditors.

Because corporations are not fully liable for “their” acts, they are allowed to go bankrupt
without prejudice against their owners and operators. Only assets belonging to the corporation
are subject to bankruptcy. The privately held assets of the owners and operators are not affected.

Thus, when the United States of America, Incorporated, went bankrupt in 1933, its
President, Franklin Delano Roosevelt, was not bankrupted and neither were the members of the
“US Congress” running it as corporate officers. The organic states and the American people
should never have been subject to its bankruptcy, either, and wouldn’t have been, except that the
Roosevelt Administration falsely and deliberately claimed that they were “voluntary” assets
standing as surety for the debts of the United States of America, Inc.

This claim was based on a “pledge” made by the Conference of Governors acting on
March 6, 1933. These “Governors” ---- men operating “State” franchises of the United States of
America, Inc.---gratuitously promised the “good faith and credit of their states and the citizenry
thereof” without bothering to explicitly say which or what kind of “state” or “citizenry” they
were referring to when they made this pledge. Everyone present presumably knew that their
public office did not grant them any ability to promise resources belonging to the American
states much less the private property of the American People, but the creditors gleefully
presumed that the organic states and the American people were legitimately on the hook,
extended vast amounts of credit to the perpetrators, and began advancing false claims against the
resources of the organic states and the private property of the American People.

imagine that Burger King, International, went bankrupt, called a meeting of all the local
franchise owners, and asked them to pledge the assets of their customers as collateral backing
the debts of Burger King, International.

That’s what happened in 1933.

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There’s just one real monkey wrench in this for the perpetrators and their central bank
buddies. It’s all fraud and fraud vitiates everything it touches. The “Governors” had no
legitimate authority to pledge even a square foot of American soil, much less pledge the private
property assets of the American People. That they purported to do this and that the self-interested
bankers and lawyers allowed them to do this, is an act of criminality that staggers the
imagination.

It is identity theft, impersonation of public officials, semantic deceit, unlawful
conversion, and constructive fraud carried out on a planetary basis. Not only were the American
People and their organic states cruelly victimized, so were their friends and neighbors and
trading partners. Meanwhile, the members of the “US Congress” changed hats to become
members of the “US CONGRESS”, and, glutting on the vast amounts of credit being offered to
them----all based on their patently false claim that they had granted authority to sell everything
and everyone in America as chattel and to use us and our land as surety for their private
corporate debts--- they charged up our credit cards to the hilt and left us to pay the bill.

That is why the “US government” needs to be entirely reformed, the reason that every
member of “CONGRESS” and every “GOVERNOR” and every member of every “STATE
LEGISLATURE” needs to be jack-booted in the rump, the reason that the assets of all the
complicit banks need to be confiscated, the reason that the current banking institutions and their
supposed “watch dog agencies” like the SEC need to be dissolved as criminal enterprises, the
reason that all “national debt” needs to be repudiated worldwide, the reason that the Bar
Associations —worldwide--- need to be disbanded and outlawed, the reason that the “City State”
status of the District of Columbia and the United Nations ---both---needs to be rescinded, the
reason that the English People likewise need to rescind the “City State” status of the Inner City
of London and flush Fleet Street and the Crown Temple into the Thames..

The immense power of the Pope’s Temporal Office needs to be employed to straighten
out this steaming manure pile of government “service” organizations once and for all.

How are we gomg to accomplish this? Simple. We tell each other the truth, we forgive
each other, we liquidate the offending corporations, we prosecute those who have purposefully
and knowingly perpetuated this fraud, and we start over with a clean slate. The People of
iceland have already done this successfully. There is no reason that the rest of the world can’t do
the same.

As for the American People it is long overdue for us to dust off our laurels and walk the
walk as true world leaders, instead of allowing ourselves to be directed by thugs, and letting
criminals set up shop in our banks, courthouses, and seats of government. A housecleaning of
major proportions is long overdue, and the image of “Rosie, the Riveter” comes to mind.

The perpetrators of this fraud will want to defend themselves and continue making their
false claims and continue bilking the American People. They will make all sorts of threats and
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accusations and try to start trouble, maybe even try to make the American Armed Services and
other “government agencies” use force against the People of the Land. If they do so, they will
only identify themselves as criminals and make their status as criminals crystal clear for the
entire world to see.

23. There are really only 22 questions, but this one answers the dreadful unasked moral
question.

Pity Pope Francis, the man who has inherited this incredible convoluted and criminal
mess. He is doing his best to straighten it out, but he needs help---your help. If you are an
American and the least bit interested in your own future and the false claims being made against
your property assets and those of your organic states, it is time to take affirmative, positive,
determined, and non-violent action.

Pope Francis is being attacked, viciously, by hired media and propaganda masters who
are working hard every day at the behest of the banks and the Bar Associations to vilify the
Roman Catholic Church--- which is now the primary obstacle in the way of achieving ---not a
gentle, kind, unified government for the world that respects free will and individual people as
Children of God----but a demonic version sponsored by the Crown Temple.

These two organizations are rivals by design. The Roman Catholic Church worships
God, the Creator. The Crown Temple worships Lucifer, the Liar. In past ages these
organizations have engaged as necessary evils endemic to creation, each one bent on corrupting
the other in an endless cycle ---one drawing good out of evil, and the other dedicated to creating
evil out of good.

This reflects the duality seen everywhere and in everyone.

The Church stands in bright light, in robes of white, advocating life. The Crown Temple
stands in the darkness, wears robes of black, and advocates death.

It is no coincidence that the followers of Lucifer indulge in such a fantastic array of
semantic deceits, false identities, corporate personas, and lies, for they literally worship the
Father of All Lies. It is no mistake that they seize by deceit and violence and lay waste to human
lives, because they worship Satan. This is not really any secret. They have existed and
endeavored to rule over everyone else since 3760 BC. They were insane then and they are insane
now. In Babylon, their priests self-castrated and practiced every possible kind of violence and
black magic. They murdered (by burning alive) infants in the name of their goddess. All that has
changed is that in modern times cult members keep their working parts and worship a male deity
instead. They still defend mass murder of infants. They still deal in illusions---legal fiction
entities and fiat money. They still wear black robes.

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Which side will win the eternal battle?

Pope Francis is standing firm for all that is right and real, for life, for love, for justice, for
truth. Those in charge of the Crown Temple are standing just as firm for evil, for death, for
hatred, for injustice, for lies. At any time, the Pope could falter and become the Anti-Christ. At
any time, the Anti-Christ could fail and be relinquished to the dustbin of history.

The great dream of the Church is the Kingdom of God on earth, a peaceful kingdom built
on life and love. The great dream of the Crown Temple is to rule, period, forever, as the slave
master of others. Just as “the United States of America (Mimor)” pretends to be The United
States of America (Major), the Crown Temple often pretends to be the Roman Catholic Church.
Sometimes, quite often, they succeed in planting their operatives in the Church.

That’s why the Church gets branded with all the infamy and violence that results when
one of the Crown Temple members gains prominence. Crown Temple initiates brought us the
Inquisition and similar atrocities---all “in the name of” and wearing the vestments of the Roman
Catholic Church. This is why the Church has been bedecked with gold and jewels and treasures,
surrounded by Egyptian obelisks and other fertility symbols---not to reflect a love of God, but to
glorify a perverse worship of sexuality, not to adorn the Church, but to silently coerce and
implicate and tempt and deceive and enslave and provide excuse to accuse the Roman Catholic
Church of all the sins of the Crown Temple. To this day, ali priests of Satan must first gain
priesthood in the Roman Catholic Church: if you are dedicated and duplicitous enough to be
ordained as a Roman Catholic priest while secretly worshiping Lucifer, you have passed your
entry level test as a Satanist.

Apologists have tried to excuse the existence of the Crown Temple as a necessary evil
built into the fabric of the natural world. They postulate that without its lies and fake money and
the violence and conflict it perpetuates every day, people would have nothing to motivate them
and the world’s economy would collapse. People are livestock, they say, here merely to exist
for our profit, to be milked, shorn, and slaughtered. If people were allowed to use and enjoy the
resources that properly belong to them, they’d sit on their rumps all day and drink pina coladas
(like we do) and all the processes and work necessary for our comfort and profit would grind to a
halt.

Others have taken the stance that continuing to tolerate the Crown Temple in our midst is
like allowing a giant colony of disease-infested rats, or a cancer, to consume the globe. The
underlying insanity of the Masters of Deceit is all too apparent to justify allowing them to
continue their rampages. They brought us both the First and Second World Wars without a
thought or backward glance. During their hegemony in America, they have kept the American
people constantly embroiled in wars for profit throughout the globe, which has caused
Americans to be hated and feared by decent and innocent people everywhere. They have done
this at the same time that they have bilked the American “taxpayers” for credit that supposedly
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supports welfare recipients and foreign aid---but which is actually siphoned off to benefit the
criminals and fund their operations among us.

Less than 20% of all money supposedly appropriated for welfare payments and less
than 2% of foreign aid ever reaches its purported destinations.

Nothing is what it seems. The courts are the criminals. The “money” is worthless debt.
The gods are the servants. The students are the teachers. Everything on earth is upside down and
reversed. Everything that you think is separate is in fact unified and everything that you think is
wrong is ultimately right.

Perhaps most important----everything that you think is secret is fully known.

Those who describe their brothers and sisters as “useless eaters” and who strive to
defraud and control and pillage and rape and murder for profit and pleasure, and also those who
refuse to forgive and refuse to provide justice------ take note----there are no secrets. From that
enlightened perspective, you will finally see the very real need to reform your precious Self.

All those who cherish what is good in their hearts, who know their weakness, who are
able to feel love and gratitude, who yearn for justice, who sigh and moan every day for relief----
all your deeds, motives, and circumstances, even the inmost desires of your hearts are also
known.

So it is written that what is done in secret will be declared from the housetops, and that
the truth shall set men free.

The truth will inevitably invade your mind like a virus download onto a computer. You
will realize that nobody can represent you and that “representative government” is a ridiculous
lie. You will require government to be your servant, not a ruler over you. You will know that
you belong to the land, and that the land does not belong to you. You will know that lines drawn
on a map are just lines on a map. You will see the illusions within which you have lived, and you
will realize your guilt in the same breath that you behold your victimhood.

You can be a shepherd or you can be a wolf, but you can no longer be a sheep.

The great sin for which the Americans are responsible does not digest the world in the
bowels of London, but roams on the Great Plains of America and throughout the 50 states
United. It is in the hearts and minds and lives of the American Indians we have attacked and
defrauded, reducing them to abject poverty and alienation via actual and cultural genocide.

The American Indians have suffered so terribly because they know and hold onto
this one, simple truth: we do not own land.

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Nobody does.
The land owns us.

Like every other lie and illusion practiced by the Crown Temple, Europeans became
infected early on with the idea that men could own land, and based upon this central lie, a vast
complex of other lies has been built.

The followers of the Crown Temple have created, engendered, and promoted this insanity
as a means to control others and provide endless excuses for conflict----which creates profit for
themselves at everyone else’s expense. The idea of “incorporation” is similarly immoral, insane,
and destructive. Commercial corporations exist for one reason only---to escape accountability.
On this basis alone their existence should be outlawed. The Great Lie of representative
government is another chestnut created by the Crown Temple, a blatant impossibility that has
been enshrined without question for over two hundred years.

When the Americans declared that all men are equal, they meant it. There is no basis for
the empowerment of one equal over another equal. Likewise when they declared their
determination to enjoy free speech, free travel, and other rights of Nature, there was no room left
for the egotism of rebellious public servants. Under American law and under the American
government there is no power greater than each individual. This means that we cannot be
represented and though we may transgress and may even be outlawed, we cannot be harassed,
subjected, nor demeaned as a “thing”----such as an ESTATE or a foreign situs trust or a
transmitting utility.

The Final Judgment and Civil Orders accompanying have been signed and sealed and
now also this information is being sealed under the authority of anu:hotep giving voice, sign,
and seal, proving that those who know the Lie also know the Truth.

 

List of Primary Source Documents

1. Treaties with St. Boniface and Treaties Between the Holy See and King Pepin the Short
of the Franks; Pepin delivered and defended the Papal states of the Holy See, confirming
the “temporal powers” of Rome and laying the groundwork for his son, Charlemagne, to
create the First Holy Roman Empire. (751-800 A.D.)

2. Charter of the First Holy Roman Empire, 800 A.D.
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King John of England breaks with the Roman Catholic Church, 1209. Edict of
Excommunication of John of England.

Treaty of King John of England, Cede to Innocent JH, 1213 A.D. John agrees that
England and Ireland are both “fiefs” of Rome, and that his own crown will be forfeit to
Rome if he breaks his sworn agreements favoring the Pope.

Magna Carta 1215 A.D. In signing the Magna Carta King John silently invoked the 1213
Papal agreement relinquishing his crown to the Pope. Thereafter, all lands explored and
claimed in behalf of Catholic Monarchs and including the British Monarch as a vassal
of Rome, were in fact first and wholly claimed in behalf of the Holy See, which returned
a portion of the profit to the vassal monarchs in the form of “jurisdictions”. The Holy
See retained the global jurisdiction of the air, granted jurisdiction of the land to temporal
authorities (recognized monarchs), and granted the international jurisdiction of the sea to
the British Crown Temple to be administered under the ancient Law of the Sea
(international admiralty) and Law Merchant (now Uniform Commercial Code).
Charter(s) of the Global Estate Trust (1455, 1456, 1479, and 1492 et alia) by Papal Bulls,
especially the Inter Ceatera of May 3 and 4, 1493, by Pope Alexander VI.

European Treaties bearing on the History of the United States and its Dependencies to
1646, Frances Gardiner Davenport, editor, Carnegie Institution of Washington, 1917,
Washington, D.C., especially pp. 75-78.

“The Privileges and Prerogatives Granted by Their Catholic Majesties to Christopher
Columbus April 30, 1492”

“The First Charter of Virginia” April 10, 1606

“The Second Charter of Virginia” 23 May 1609

. “The Third Charter of Virginia” March 12, 1611
12.

“The Charter of New England: 1620” It becomes obvious from the above that all these
Estates) were formed as commercial ventures under the auspices of Monarchies owing
fealty to the Holy See.

“Cestui Que Vie Act of 1666” --- Sets forth the nature and construction of Roman
Inferior Trusts in England to allow state management of property belonging of unknown
survivors of the Black Death and the Fire of London.

. “Charter for the Province of Pennsylvania~-1681” — More proof of the commercial and

non-religious nature of the founding principles that the Holy See employs in managing its
temporal affairs and providing governmental services.

“Charter of the Corporation of the Bank of England 1694”

The Articles of Confederation 1781

The Treaty(ies) of Paris plus Amends, 1784-90

The Treaty of Westminster, 1794, a “Treaty of Amity, Commerce, and Navigation”
between HIS BRITANNIC MAJESTY AND THE UNITED STATES OF AMERICA,

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. The Lieber Code also known as General Order 100, April 24, 1863, by President

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November 19, 1794, in which the British Crown commercial company and the American
version agreed to peace in perpetuity.

. The Northwest Ordinance, 1787.
. The Constitution for the united States of America, 1789.
. Act of February 20, 1792, Establishing a General Post Office for the United States

government, in addition to the already existing general post office.

. 1818: U.S. v. Bevans, 16 U.S.336. Establishes two separate jurisdictions within the

United States Of America: 1. The "federal zone" and 2. “the 50 States".

. The Treaty of Ghent, 1814
. Treaty of Verona, 1822, American Diplomatic Code, 1778 - 1884, vol. 2; ElHott, p. 179 and

CONGRESSIONAL RECORD - SENATE.,64th CONGRESS, Ist SESSION, VOLUME 53,
PART 7, Page 6781, 25 April 1916, in which the Higher Contracting Powers agreed to undermine
the American government.

“Bankruptcy Law (of England)” 1826
“First Bank Act (America)” 1863

Abraham Lincoin as Commander in Chief, making the Union Army responsible for
proper administration of the monetary system, protection of the National Trust, and fair
treatment of the Southern States and their inhabitants during reconstruction. The Lieber
Code requires the Army, or in modern terms, the Department of Defense, to pay
reparations to all non-combatant civilians harmed. This Code has never been repealed or
changed. It is the reason that we continue to have “Secretary Generals” and “US
Postmaster Generals” and “Attorney Generals” and “Inspector Generals” and
“Lieutenant Governors’.

The Reform Act of 1867 (Britain) — First use of enfranchisement as a political tool to
undermine legal standing of living men under Chancellor of the Exchequer, Benjamin
Disraeli.

The Reconstruction Act of 1867 — American counterpart

“the Constitution of the United States of America” 1871 — established by the “US
Congress” acting as Board of Directors to form the United States of America, Inc. as a
Trust Management Organization to operate both the municipal government of the United
States of America (Minor) and to administer and fulfill the National Trust Indenture and
service contracts owed the now- 50 states known as The United States of America
(Major).

The Act of 1871 — Formally incorporated the municipal (city state) government of the
District of Columbia as a separate nation operated according to its own government and
code.

Merriam's Estate, 36 NE 505, 506 22: "... the United States is to be regarded as a body

politic and corporate. ... It is suggested that the United States is to be regarded as a
domestic corporation, so far as the State of New York is concerned. We think this
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contention has no support in reason or authority. ... The United States is a foreign
corporation in relation to a State."

U.S. v. Anthony 24 Fed. 829 (1873) "The term resident and citizen of the United States is
distinguished from a Citizen of one of the several states, in that the former is a special
class of citizen created by Congress.” Though the judge fails to fully admit the
circumstance, “US citizenship” was created as an excuse for the “government” to claim
ownership of all the slaves supposedly freed by the Civil War as chattel backing Union
war debts. To this day, black Americans have only “Civil Rights”.

U.S. v. Cruikshank, 92 U.S. 542, 23 L.Ed. 588, (1875). "There is in our political system

[two governments], a government of the Several [50] States, and a government of the
United States. Each is distinct from the other and has citizens of its own. A person may
be a citizen of the United States and of a State, and as such have different rights."

United States v. Germane, 99 U.S. 508 (1879), Norton v. Shelby County, 118 U.S. 425,
441, 68.Ct. 1121 (1866), etc., dating to Pope v. Commissioner, 138 F.2d 1006, 1009 (6th
Cir. 1943); where the state is concerned, the most recent corresponding decision was
State v. Pinckney, 276 N.W.2d 433,436 (lowa 1979). All these are supporting case law
establishing res judicata regarding the nature of The United States (original TMO) and a
State (one of “Several States” of the Union) as first expressed in the Merriam’s Estate
case cited above.

Title 8 USC §§ 1101(a), (3), (21) and (22) and Public Law, 15 U.S. Stat., Chapter 249,
pps 223-224. Under Federal Code (the internal “law” of the United States of America,
Inc.) there is no such thing as dual citizenship.

Title 8 USC 1101 (a) (21) the birthright status of “American Nationals” is recognized.
Under the statutory law of the United States of America, Inc. there is absolute distinction
between “US citizens” and “American Nationals”.

The Clearfield Doctrine and USC Title 22: When a government operates as a commercial
corporation it descends to the level of all such corporations and has no special powers or
attributes. It is only when acting as a properly formed unincorporated Body Politic that a
government exercises sovereign power of any kind. Virtually all governments operating
in the world today are for-profit corporations under contract to provide governmental
services. The American “US (Major)” government hasn’t operated as a sovereign entity
since 1865. The US (Minor) government operates as a corporation.

The Insular Tariff Cases, US Supreme Court, 1900-1904 — A series of US Supreme Court
cases that resulted in allowing Congress to operate “the United States of America
(Minor)”----DC, Guam, Puerto Rico, et alia---as a separate and foreign nation state
without regard for the requirements imposed by The Constitution for the united
States of America (Major). From one of the cases, Downes v. Bidwell, 182 U.S. 244
(1901), we quote Justice Marshall Harlan writing in dissent: "...two national
governments, one to be maintained under the Constitution, with all its restrictions, the

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other to be maintained by Congress outside and independently of that instrument, by
exercising such powers as other nations of the earth are accustomed to...a radical and
mischievous change in our system of government will result... We will, in that event, pass
from the era of constitutional liberty guarded and protected by a written constitution into
an era of legislative absolutism...It will be an evil day for American liberty if the theory
of a government outside the supreme law of the land finds lodgment in our constitutional
jurisprudence.”

Charter of The Corporation Trust Company of America, 1907 A.D.

Hendrick v. Maryland S.C. Reporter’s Rd. 610-625. (1914) “A “US Citizen” upon
leaving the District of Columbia becomes involved in “interstate commerce”, as a
“resident” does not have the common-law right to travel, of a Citizen of one of the
several states.” This “power of the Congress” to rule over the people of the District of
Columbia and the Insular states was used as an excuse to impose Drivers Licenses on
“US citizens” living outside the confines of the United States of America (Minor) and
mis-applied to Citizens of The United States of America (Major)--- so-called “State
Citizens” who were entrapped into contract by a process of mis-administration and legal
presumption. This applies to the myriad “licenses” and “codes” that have been mis-
applied to the American People under undisclosed, misrepresented, and otherwise invalid
private contracts.

The Federal Reserve Act, 1913. Allows a private for-profit banking association doing
business under the purposefully deceitful name of “Federal Reserve” to commandeer the
national monetary and economic systems, allowing these banks to print money and back
only a small “fractional” portion of it with gold or silver. Later, they will be allowed to
back the money with nothing at all but the promises of the US Congress.

Trading With the Enemy Act, Public Law No. 65-91 (40 Stat. L. 411) October 6, 1917,
defines non-combatant American civilian Nationals and their States as “enemies” of the
United States of America (Minor). This Act originally excluded citizens of the United
States, but in the Act of March 9, 1933, Section 2 amended this to include “any person
within the United States or any place subject to the jurisdiction thereof’. This has been
used as a self-serving and transparent excuse to commit fraud and violence against
Americans who never recognized any such “state of war” between themselves or their
States and the United States of America (Minor) and who were instead already owed full
fiduciary care under commercial equity contract (The Constitution for the united States of
America), reparations under the Lieber Code, and trusteeship from the Global Estate
Trust.

The Maternity Act /The Sheppard-Towner Act, 1921, first foray into socialized medicine
and “registration” of live births.

Minutes of the Geneva Convention(s), May 1930. Declares international bankruptcy via
treaties between the G5 nations. The United States of America, Inc. was bankrupted
internationally along with the Trust Management Organizations of four European nations
including Great Britain, which caused a domino effect worldwide bankruptcy. Please
note that the real property assets held by each national trust---- land, vegetation, animals,
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natural resources, etc.--- are held in perpetual trust and are required to be unaffected by
the ups and downs of any Trust Management Organization charged as Trustees to
administer business affairs in behalf of the beneficiaries, who are the living people who
inhabit the land of each country and continent.

Amended Charter renaming the above as The Corporation Trust Company, April 15,
1930.

Executive Order 6073 issued on March 10, 1933, created the "bank holiday" and closed
the doors of the bankrupt government chartered banks (they were bankrupted as a whole
because they operated under government charter, and because of the Great Fraud
committed by the Governors of the several States, net because they were individually
bankrupt).

Executive Order 6102 issued on April 5, 1933, prohibited "hoarding" gold and required
people to turn it (their private property) in to the Federal Reserve Banks (the creditors)
under the false and undisclosed presumption that they were volunteering to stand as
sureties for the debts of the United States of America, Inc.

Executive Order 6111 issued on April 20, 1933, prohibited people from exporting gold.
The creditors (banks) claimed that all the gold in private hands in the Several (now 50)
States no longer belonged to the State Citizens and other Inhabitants, as a result of having
been pledged by corporate officers of the privately owned and operated United States of
America, Inc. acting as deceitfully named State “Governors” so confiscation of privately
held American gold resources was instituted under conditions of false pretense and
semantic deceit by officers of a bankrupted privately owned and operated Trust
Management Organization and their creditors, privately owned and operated international
banks---the World Bank (now IMF), IBRD, and Federal Reserve.

H.J. Res 192, 73" Congress, First Session, principally prior enrolled as Public Law,
U.S. Statutes at Large, Vol. 1, Public Acts, 3% Congress, 2nd Session, Chapter 48,
especially 48.48.112 ---This is the commercial remedy that the perpetrators were
required to create to make their confiscation of private gold and hypothecated titles to
private land and business holdings “legal”. This remedy like the underlying surreptitious
hypothecation of debt and claims against private property made by the officers of the
United States of America, Inc. against the American Nationals was never widely
circulated or disclosed for obvious reasons. Unaware of how they’d been injured and
abused by those obligated to act as their Trustees, the inhabitants of the land were equally
unable to access this remedy, which was for the government corporation to literally pre-
pay all debts owed by the foreign situs trusts created to stand as sureties of the United
States of America, Inc. Like irresponsible teenagers promising to make the payments on
a car, the US Congress “resolved” to pay its debts in such a way that the secondaries---

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the presumed co-signers on their loans, the foreign situs trusts they named after American
Nationals---would never default, and in theory, the living American Nationals would
never be dunned or otherwise impacted by their fraudulent semantic deceits and false
claims.

In actual practice, the voucher and coupon system which should have been ubiquitously
implemented never was, and the Internal Revenue Service, the agency responsible for
both collecting taxes and dispensing credit owed individual accounts was split into two
distinct and separate entities, the Internal Revenue Service operated by the Federal
Reserve and the IRS operated by the International Monetary Fund, which colluded to
confuse and defraud the living people, billing them “as if” they owed the tax bills and
forcing them to pay the debts of the make-believe foreign situs trusts operated under their
names using Federal Reserve Notes, a process that not only failed to pay the debts of
these “fictional citizens” of the United States of America (Minor) but left the American
Nationals even further in debt as a result of interest and service fees and import duties
charged by the same banks.

U.S. Bankruptcy Act of 1933, especially Section 101 (11)--- Declares the American
People as the Creditors, the “United States” as the Obligator, or Debtor. This established
that the signatures of Americans were to be used as credit, but the “State” franchises of
the United States of America, Inc, dba “United States”, “State of Ohio”, etc., and their
Trustees, dba Secretary of the Treasury of Puerto Rico, Custodian of Alien Property,
Comptroller of the Currency, etc., were to discharge all debts.

“Charges Against Board of Governors of the Federal Reserve Bank System, The
Comptroller of the Currency and Secretary of the United States Treasury brought by
Congressman Louis T. McFadden, May 23, 1933, Co-Chair of House Banking
Committee, US Congressional Record, pp. 4055-4058”

. The Naturalization Act of 1935. More deceitful efforts to entrap American Nationals and

claim that they were “US citizens” subject to the whims of the “US CONGRESS”.

49 Statute 3097 Treaty Series 881 (Convention on Rights and Duties of States) December
26, 1933---enacted as a result of the bankruptcies, both national and international, by the
US CONGRESS---newly redefined to operate the UNITED STATES, INC. --- replaced
all the “statutory law” (Federal Code and State Statutes) with international law. That is,
the bankrupted United States of America, Inc. continued in reorganization to function
under Federal Code, but the UNITED STATES, INC. operated by the IMF operates
under the Uniform Commercial Code and International Admiralty jurisdiction.

Social Security Act, 1935. Contrives under conditions of conceit and non-disclosure to
register everyone applying for any job, public or private, and to conscript them under
these conditions to act as unpaid “voluntary” Withholding Agents in behalf of the Puerto
Rican Estate Trusts set up “in their names”.
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U.S. Congressional Record Proceedings and Debates of the 76" Congress, Monday
August 19, 1940, Third Session, Debate of Honorable Judge Thorkelson, “Steps Toward
British Union, A World State, and International Strife---Part 1”.

Alien Registration Act, 1940 — mandated registration of the names of all living
Americans to create estate trusts operating under their names in foreign maritime and
admiralty jurisdictions.

Buck Act, 1940 ---“enfranchised” the ESTATES of American Nationals as “dual
citizens” of The United States of America, and the United States of America (Minor) -----
--and their respective franchises of the UNITED STATES, INC. operated as “STATES
of States” (See UCC 1-207 Definitions) allowed this “enfranchisement” to stand as an
excuse for claims of ownership and controlling interest in the assets of the individual
ESTATE trusts-----including the living men and women as slaves, and their private
property as chattels still presumed to be “surety” for the debts of the United States of
America, Inc. owed for the governmental services performed by the UNITED STATES,
INC.

The Bretton Woods Accords, Inclusive, 1944, succeeded until 1971 in partial restoration
of the Gold and Silver Standard, and as a secondary result, ceded control of all the
agencies, assets, departments, logos, symbols, etc. to the UNITED NATIONS and its
International Monetary Fund (IMF) agency merely doing business as the UNITED
STATES. All STATE OF ALASKA offices are in fact UN corporate offices.

Hooven & Allison Vs. Evatt, 65 SCt.870, 880,321 U.S 652,89 L.Ed.12, 52 (1945)
conclusively affirmed that there are two (2) distinctly different United States with TWO
OPPOSITE FORMS OF GOVERNMENTS.

United Nations Charter, 1946. (Note, the commercial company dba UNITED NATIONS
existed prior to the city-state being chartered as the “United Nations”.)

Administrative Procedures Act (1946) provides statutory admission that the ESTATES of
American Nationals are the priority creditors of the United States of America, Inc. and
provides that American Nationals deemed to be civil executors and “federal contracting
officers” administering their own ESTATES are enabled to bring administrative claims
against the United States of America, Inc. assets and also against the UNITED STATES.
This is where we got two court systems with differently styled names--- “The US District
Court” and “THE US DISTRICT COURT” for example. This was the remedy offered to
the victims of the first fraud for the second fraud carried out against them by the
UNITED NATIONS and the US Bankruptcy Trustee, when they rolled the assets of the
individual foreign situs trusts into Roman Inferior ESTATE trusts. Like the first remedy,
this second remedy was never delivered to the people. The perpetrator banking cartels
which were by now funding both the Courts and the COURTS simply ordered their
employees not to recognize the identities and standing of the American Nationals,

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conveniently laying claim to their ESTATES without providing remedy to them for the
theft of controlling interest in their assets and misappropriation of their good faith and
credit.

MILOSZEWSKI v. SEARS ROEBUCK, 346 F.Supp. 119 (1972)(2).

[Outside of Constitutional authority is 100% private authority - NO lawful authority. 18
USC 2381-85 Treason - Sedition.] OPINION, FOX, Chief Judge (U.S. District Court of
Michigan): “A mere statement of this fact may not seem very significant; corporations,
after all, are not supposed to exercise the governmental powers with which the Bill of
Rights was concerned. But this has been radically changed by the emergence of the
public-private state. Today private institutions do exercise governmental power; more,
indeed, than ‘government’ itself .... We have two governments in America, then-one
under the Constitution and a much greater one not under the Constitution. In short, the
inapplicability of our Bill of Rights is one of the crucial facts of American life today." In
fact, American Nationals are owed the Bill of Rights as they always have been. “US
citizens” are not owed the Bill of Rights. The problem is that we have all been self-
interestedly mis-identified as “US citizens”---a crime known as “personage” carried out
against us by individuals and corporations in our employment and under contract to
provide governmental services.

Foreign Sovereign Immunity Act, 1976. This releases all “State” laws and statutes to
international jurisdiction, specifically to the Uniform Commercial Code (maritime law).
The corporate franchises calling themselves “States” continue to publish their own
copyrighted version of the Uniform Commercial Code with addendums and label it as
“Statutes” but these have no actual enabling clause.

Title 22 USC, Chapter 11, all public officials designated foreign agents.

2? CFR 92, 12-92.31 “Foreign Relationship” requires an oath of office, and Title 8 USC
1481 states that once an oath of office is taken, citizenship is relinquished. As a result,
when American Nationals are arbitrarily defined as “US citizens” and harassed by agents
of the United States of America (Minor) and the UNITED STATES, INC. into acting as
“Withholding Agents”, “Federal Contracting Agents”, or members of the Armed Forces,
or as Federal Employees of any stamp, they temporarily and for as long as they continue
te act “in office” lose the protections and benefits of their birthright citizenship. This
“presumption of employment” is often used by the corporate administrative tribunals to
defraud and abuse American Nationals who are owed all the protections of The
Constitution for the united States of America and the United Nations Declaration of
Human Rights and also good faith service under contract.

Title 28 USC 3002, Section 15 (A), “United States” is a Federal Corporation, not a
government, including the Judicial Procedural Section.

Court Registry Investment System Charter and Operations Manuel

Committee on Uniform Securities Identification Procedures Minutes and Publications
The Federal Prison Industry, Inc. Charter, dba UNICOR
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70. The American Bar Association Style Manual.

71. Black’s Law Dictionary, Fifth Edition.

72, Title 28 USC, Chapter 176, Federal Debt Collection Procedure --- places all courts
formerly operated by the United States of America, Inc. in equity and commerce venues
under the International Monetary Fund, that is, in receivership and acting as corporate
tribunals of the IMF, including “STATE” franchise courts.

73. UNITED STATES is a commercial corporation chartered in France by the International
Monetary Fund, an agency of the UNITED NATIONS chartered by the Vatican.

74, Maxims of Law including “Fraud vitiates everything.”

75. Universal Postal Treaty for the Americas 2010.

76. Burton’s Legal Thesaurus, 5" Edition.

WHERE TO NOW?
(Slightly amended April 20, 2014)

Since issuing the FINAL JUDGMENT AND CIVIL ORDERS people have asked, now what?
We are not standing in the Shoes of the Fishermen. All we can provide is an educated opinion
offered in goodwill to the American people. Here is what we would do:

As individuals: know who you are and take action accordingly. Are you a birthright American
National? Or are you rightly considered a “US citizen”? If you are a “US citizen” is it a
permanent or temporary condition of employment?

Federal employees and members of the active duty military are considered “US citizens”
during their employment, but they have the absolute right to quit their jobs or void their contracts
(military service) if they are required to act in any manner contrary to the Law of the Land
known as “The Constitution for the united States of America” while on the land.

All American Negroes are similarly considered “US citizens” because the individual states did
not act to formally recognize their State Citizenship at the end of the Civil War; however, this
condition can be addressed in a number of ways. First, the United States of America (Minor) has
guaranteed “equal civil rights”----equal to the rights of American Nationals, which includes the
right to refuse any claims made by the United States of America (Minor) upon you, your persons,
or your ESTATES. Second, you can push the reorganized and lawful state legislatures to
formally recognize your equal status as Americans born on the land of the American states. That
should have been done 150 years ago, but better late than never.

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“Foreign” Welfare Recipients --- Americans are considered to be “foreigners” with respect to
the United States of America (Minor) and anyone receiving welfare benefits is considered to be a
“US citizen”, however, because these programs have been funded with American credit obtained
under conditions of fraud and often have been entirely paid for by the recipients as a group (as in
the case of Social Security), some other compelling basis would have to be established before the
United States of America (Minor) could convincingly claim American welfare recipients as “US
citizens”.

Retirees — the United States of America (Minor) will no doubt attempt to claim that American
Retirees owed Social Security Insurance coverage are “welfare recipients” receiving “benefits”
(see above). Individual retirees need to object to this “interpretation” of their status and give
notice to the Social Security Administration that it is their understanding that Social Security is
and was a retirement insurance program that they paid into and are vested in, and not in any way
welfare or benefit of any Public Charitable Trust. This is just more self-interested deceit.
American workers paid for every drop of their retirement imsurance coverage and are
grandfathered in once vested, just as with any other private insurance program. Receipt of Social
Security payments does not provide any claim against your status as an American National. If
the Social Security Administration goes bankrupt, the United States of America (Minor) will be
charged as secondary, and so on up the food chain.

Obammacare — is a brazen attempt to comer the market on medical insurance by the federal
corporation. Ask yourselves----does Blue Cross have any right to “tax” me or force me to buy
insurance coverage from them? If not, neither does E PLURIBUS UNUM THE UNITED
STATES OF AMERICA, Inc. Just say, “No.” You are not a “US citizen” and you are not
obligated to pay or obey.

Internal Revenue/IRS --- recognize that these are two separate agencies, one representing the
Federal Reserve System, one representing the International Monetary Fund. They act in two
separate roles. One owes you a lot of money and is obligated to pay any and all debts your
ESTATE may owe from a credit account established using nine digits without dashes:
*123456789” and the other is owed moderate service fees for providing public services and
operates a debt account under the same number separated by dashes: XXX-XX-XXXX. These two
agencies work together to defraud you, but you have the absolute right to act as the Civil
Executor on the Land of your own ESTATE, and once you have proven who you are, you have
every right to tell the holder of the debt (IRS) to bill the holder of the credit (Internal Revenue
Service) and to discharge any taxes, tithes, or fees owed by the ESTATE.

State Legislators — immediately enter your public offices, take valid oaths to the “Alaska state”
and the “living Alaskan people” (or whatever other state, such as “illinois” and people
“TiHonoians” you believe you represent), and act together as an unincorperated Body Politic to
demand (1) release of all land within the state’s geographically defined borders that are not
specifically granted for “federal” use under permit, such as “federal courthouses”, military bases,
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arsenals, etc. that are traditionally allocated to the use of the “federal government”, (2) recognize
that the “United States senators” are still under their original obligation to the state legislatures —
they work for you and are accountable to the state, not the federal corporation, not the United
States of America (Minor) and not the IMF. Demand that they account for their actions and
inactions and remove them from public office if they have failed to abide by “The Constitution
for the united States of America” and “The Alaska Statehood Compact” (just substitute the name
of your state), (3) recognize that the “US congress members” are similarly directly accountable
to the people of the state and demand that they immediately act to release all false claims against
state and private property assets that have been made via the use of legal fiction entities however
constructed, together with all false titles to land and other assets held under color of law, (4)
recognize only “state banks” operated under state control and force all “national banks” to
submit to state banking rules in order to do business in your state--- and make sure those rules
are explicit in denying the use of “off book” accounts and other practices not allowed by Basel 1,
Il, and HI, (5) force all “courts” currently operating in your state to declare exactly who or what
is operating them, and in what jurisdiction they are operating, and for what purpose(s) they are
operating and make them openly, freely, and officially declare their nature and status so that
people are no longer hoodwinked, (6) void the charters of all municipalities and boroughs
operating in your state that have been issued under the auspices of the United States of America
(Minor) or the UNITED STATES; these entities are under foreign obligation and have been
established under conditions of fraud based on semantic deceit; so provide substitute issuance/ of
city and other government unit charters as appropriate.

Note that inhabiting an American public office requires you to act with 100% commercial
liability and according to The Constitution for the united States of America. As a result,
you wield ultimate power, but to exercise this power you must also accept ultimate
responsibility. Also recognize that your acceptance of public office does not confer any special
magic power or serve to make you “more equal” than any other birthright American. All
Americans who accept the responsibility of a civil office may exercise it, because the entire
power of the civil government is vested in every American without exception.

You cannot claim any control over public assets based on your public office while
operating in a private capacity. For example, you cannot sign a valid contract selling the
Alaska state’s oil resources while enjoying any limited lability whatsoever, and you cannot
make any such agreements in conflict of interest.

Governors of states --- See above.

“US” congress members and “senators”---- Find a distinct and unequivocal name for the
United States of America (Minor) and end the semantic deceits and crimes that have been

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perpetuated as a result of this purposeful confusion at law. When you are operating the
Municipal government, or the Insular States government, either one, make it clear to everyone
everywhere that that is the capacity in which you are acting and do not allow any sloppy
interpretation of your authorities and actions to bleed over and impact American Nationals.

Judges, Lawyers, Court Clerks, Judicial Councils --- If you’ve read the rest of this document,
it should be apparent that you are not required to be a member of the Bar Association. We
suggest tearing up your Bar and/or BAR cards and forming a state-based professional association
that accomplishes the worthy and positive functions of such an organization without the
corruption and negative elements. Nobody is prevented from practicing law in America and
never has been, nor is anyone prevented from offering lawful service. Set up your own courts as
loyal Americans, include service under American Common Law, and have at it. The Bar
Associations have long functioned as “closed union shops” and in violation of Taft-Hartley. Bust
them for it.

The actual 13" Amendment to The Constitution for the united States of America does NOT
prevent you from serving your country or from plying your trade. It simply prevents you from
serving a foreign government (that of the city state of Westminster) and accepting titles from that
government as a Bar Association Member. So, purge your ranks of liars and traitors, do the
right thing as Americans, and you'll be fine. Otherwise, pack your belongings and go. You have
three years as of July 1, 2013 to settle your affairs and leave, provided that you do no harm to
anyone else and do not infringe upon the material interests of any American National in the
meantime and do not operate as an Undeclared Foreign Agent on our soil. If you cause any such
trouble, you will be immediately arrested and deported.

Bankers - Obviously, if you’ve been operating a “national” bank without the American nation
on American soil and proposing to conscript Americans as debt slaves via the self-interested
presumption that American Nationals are “US citizens”, you are in a heap of trouble, and need to
quickly, quietly, and determinedly make changes to recognize the interests of the American
Nationals in their own private accounts, and to admit all off-book and escrow and demand
accounts the bank has held or processed for federal corporations “in the name of’ American
Nationals.

All fiat money systems based on “Notes” whether “Federal Reserve Notes” or “US Treasury
Notes” are illegal in America, aka, The United States of America (Major) composed of 50
organic states, and you are under complete demand to provide legal tender based on gold and
silver coin standards. Otherwise, your clientele will be strictly limited to “US citizens” and you
will be under full obligation to completely reveal (1) the difference between “US citizens” and
“American Nationals” and precluded from offering service to any American National; (2)
required to prove the citizenship status of all clients and that they have adopted that status
knowingly, willingly, and under conditions of complete, explicit, and fully discussed disclosure
of the consequences as well as any benefits, (3) honor the living status of American Nationals
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and never again create accounts merely “in the name” of any living man or woman born on the
land of the American states based on “representations” made in their behalf, (4) commit no act of
false advertising, such as advertising “loans” based on the customer’s own credit. All national
banks operating facilities on the land of the states will be obliged to conform to state standards
and Zunction according to “The Constitution for the united States of America” when addressing
or offering services of any kind to American Nationals.

The circumstance that American Nationals have suffered in having no money with which to pay
debts is entirely the fault of the private, for-profit corporations under contract to provide these
governmental services and the Department of Defense Financial Services Administration. Any
bank proposing to offer service to the American Nationals must provide interest free commodity
based real money subject to the gold and silver coin standard, not corporate [1.0.U.’s, not fiat
“deb: notes”, and cannot charge any interest, make any loan, or offer to indebt any American
National or state on the basis of failure to provide such service.

Military Officers, Police, Provost Marshals, Civilian Employees of DOD - Remember who
you actually work for and make no mistake. There are two different populations being served.
American Nationals pay for your services and are owed your good faith service and dedication.
“US citizens” are allowed to be present on the land of the organic states, but operate (at present)
under a different government and are not owed the same protections, rights, and guarantees. All
American Nationals are owed all protections of their national trust indenture and commercial
service contract known as “The Constitution for the united States of America” and any law, rule,
statute, or code serving to infringe upon them or their material rights in contravention of their
Constitution is a violation of the Law of the Land and the Supreme Law of the Land which you
are obligated to observe, honor, and protect under contract.

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